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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT


    JULIETTE MOTZ, individually and as a                   Case No: 3:22-cv-00965 (RNC)
    representative of a class of similarly
    situated persons, on behalf of the CITI
    RETIREMENT SAVINGS PLAN,

                    Plaintiff,                             AMENDED CLASS ACTION
               v.                                          COMPLAINT

    CITIGROUP INC.,

                    Defendant.


                                         I.      INTRODUCTION

          1.        Plaintiff, Juliette Motz (“Plaintiff”), individually and on behalf of the Citi

Retirement Savings Plan (“Plan”) and a proposed class of similarly-situated participants and

beneficiaries in the Plan, brings this action (“Action”)1 under 29 U.S.C. § 1132 against

Defendant, Citigroup Inc. (“Citi” or “Defendant”), for breach of its fiduciary duties under the

Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1001, et seq., and related

breaches of applicable law beginning six years from the initial complaint originating this action

was filed and continuing to the date of judgement, or such other date the Court determines is

appropriate and just (“Class Period”).

          2.        Defined contribution plans (e.g., 401(k) and 401(a) plans) that are qualified as

tax-deferred vehicles have become the primary form of retirement saving in the United States

and, as a result, America’s de facto retirement system. Unlike traditional defined benefit



1
This Amended Complaint is submitted pursuant to Federal Rule of Civil Procedure 15(a)(2)
with Defendant’s consent reflected in the contemporaneously filed Joint Stipulation Regarding
Amended Complaint.
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retirement plans, in which the employer typically promises a calculable benefit and assumes the

risk with respect to high fees or underperformance of pension plan assets used to fund defined

benefits, the participants in defined contribution plans bear the risk of high fees and investment

underperformance.

       3.      The importance of defined contribution plans to the United States retirement

system has become pronounced as employer-provided defined benefit plans are increasingly rare

as an offered and meaningful employee benefit.

       4.      As of December 31, 2020, the Plan had 109,634 participants with account

balances and assets totaling approximately $17.91 billion, placing it in the top 0.1% of all

defined contribution plans by plan size.2 Defined contribution plans with substantial assets, like

the Plan, have significant bargaining power and the ability to demand low-cost administrative

and investment management services within the marketplace for administration of defined

contribution plans and the investment of defined contribution assets. The marketplace for

defined contribution retirement plan services is well-established and can be competitive when

fiduciaries of defined contribution retirement plans act in an informed and prudent fashion.

       5.      Defendant maintains the Plan and is responsible for selecting, monitoring, and

retaining the service providers that provide investment, recordkeeping, and other administrative

services. Defendant is a fiduciary under ERISA, and, as such, owes specific duties to the Plan

and its participants and beneficiaries, including obligations to act for the exclusive benefit of

participants, ensure that the investment options offered through the Plan are prudent and diverse,

and ensure that Plan expenses are fair and reasonable in relation the services obtained. These



2
 The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018
(pub. July 2021).

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fiduciary duties are well understood to be the “highest known to law.” LaScala v. Scrufari, 479

F.3d 213, 219 (2d Cir. 2007) (citing Donovan v. Bierwirth, 680 F.2d 263, 272 n.8 (2d Cir.

1982)).

          6.   Defendant has breached its fiduciary duties to the Plan. As detailed below,

Defendant—directly or through the 401(k) Plan Investment Committee (“Committee”)—

selected, retained, and/or otherwise ratified unsuitable investments instead of offering prudent

alternative investments that were readily available at all times Defendant selected and retained

the funds at issue and throughout the Class Period. Since Defendant—again, directly or through

the Committee—has discretion to select the investments offered to participants, the breaches at

issue are the direct cause of the losses alleged herein.

          7.   To remedy these fiduciary breaches and other violations of ERISA, Plaintiff

brings this class action under Sections 404, 409 and 502 of ERISA, 29 U.S.C. §§ 1104, 1109 and

1132, to recover and obtain all losses resulting from each breach of fiduciary duty. In addition,

Plaintiff seeks such other equitable or remedial relief for the Plan and the proposed class

(“Class”) as the Court may deem appropriate and just under the circumstances.

          8.   Plaintiff specifically seeks the following relief on behalf of the Plan and the Class:

               a.      A declaratory judgment holding that the acts of Defendant described

                       herein violate ERISA and applicable law;

               b.      A permanent injunction against Defendant prohibiting the practices

                       described herein and affirmatively requiring Defendant to act in the best

                       interests of the Plan and its participants;

               c.      Equitable, legal or remedial relief for all losses and/or compensatory

                       damages;


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               d.      Attorneys’ fees, costs and other recoverable expenses of litigation; and

               e.      Such other and additional legal or equitable relief that the Court deems

                       appropriate and just under all of the circumstances.

                                     II.     THE PARTIES

       9.      Motz is a former employee of Citi and former participant in the Plan under 29

U.S.C. § 1002(7). Motz is a resident of Cincinnati, Ohio. During the Class Period, Motz

maintained an investment through the Plan in the BlackRock LifePath Index 2045 Fund.

       10.     Citi is a public Delaware corporation headquartered in Stamford, Connecticut.

Citi is an American multinational investment bank and financial services corporation.

       11.     Pursuant to a Stipulation dated October 11, 2022 (Dkt. No. 38), Citi agreed that it

would be legally responsible for the conduct of the Board of Trustees of Citigroup Inc.

(“Board”), the individual members of the Board who served at any time from July 29, 2016 to

the present, the Committee, and the individual members of the Committee who served at any

time from July 29, 2016 to the present, and would satisfy any judgment entered against the

Board, the individual members of the Board who served at any time from July 29, 2016 to the

present, the Committee, and the individual members of the Committee who served at any time

from July 29, 2016 to the present. Based upon that stipulation, although the acts and omissions

of the Board, the Committee and their respective members are discussed and addressed herein,

only Citi is named as a defendant in this action.

       12.     The Committee and its individual members are responsible for the day-to-day

administration of the Plan and each are fiduciaries under ERISA pursuant to 29 U.S.C. §§ 1002

and 1102. The Committee is the named fiduciary under the Plan with respect to the structure of

the Plan’s investment menu and the funds made available under the Plan. The Committee and its



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members are appointed by Citi or its delegate to administer the Plan on Citi’s behalf. The

definition of Committee used herein is intended to include the individual members of the

Committee who served at any time from July 29, 2016 to the present.

                             III.    JURISDICTION AND VENUE

       13.     Plaintiff seeks relief on behalf of the Plan pursuant to ERISA’s civil enforcement

remedies with respect to fiduciaries and other interested parties and, specifically, under 29

U.S.C. § 1109 and 29 U.S.C. § 1132.

       14.     This Court has subject matter jurisdiction over the Action pursuant to 28 U.S.C. §

1331 because the Action arises under the laws of the United States.

       15.      Venue is proper in this District pursuant to Section 502(e) of ERISA, 29 U.S.C. §

1332(e), and 28 U.S.C. § 1391 because Citi’s principal place of business is in this District and

the Plan is administered from this judicial district. Further, a substantial part of the acts and

omissions giving rise to the claims asserted herein occurred in this District.

       16.     Plaintiff has standing to bring the Action because she maintained investments in

the Plan in the investment options challenged in the Action during the Class Period (i.e., the

BlackRock LifePath 2045 Fund). Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2),

authorizes any participant, fiduciary or the Secretary of Labor to bring suit as a representative of

a plan, with any recovery necessarily flowing to a plan. As explained herein, the Plan has

suffered millions of dollars in losses resulting from Defendant’s fiduciary breaches and remains

vulnerable to continuing harm, all redressable by the Court. In addition, although standing under

Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2), is established by these Plan-wide injuries,

Plaintiff and all Plan participants suffered financial harm as a result of the Plan’s imprudent




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investment options and were deprived of the opportunity to invest in prudent options with

reasonable fees, among other injuries.

                              IV.    FACTUAL ALLEGATIONS

A.     Background and Plan Structure

       17.     The Plan is a participant-directed 401(k) plan, meaning participants direct the

investment of their contributions into various investment options offered by the Plan. Each

participant’s account is credited with his/her participant contributions, applicable employer

matching contributions, any discretionary contributions, and earnings or losses thereon. The

Plan pays expenses from Plan assets, and the majority of administrative expenses are paid by

participants as a reduction of investment income. Each participant’s account is charged with the

amount of distributions taken and an allocation of administrative expenses. The investment

options made available to Plan participants include various mutual funds, collective trust funds

and the Citigroup Common Stock Fund.

       18.     Mutual funds are publicly traded investment vehicles consisting of a pool of

monetary contributions collected from many investors for the purpose of investing in a portfolio

of equities, bonds, and other securities. Mutual funds are operated by professional investment

advisers, who, like the mutual funds, are registered with the U.S. Securities and Exchange

Commission (“SEC”). Mutual funds are subject to SEC regulation and are required to provide

certain investment and financial disclosures and information in the form of a prospectus.

       19.     Collective trusts are, in essence, mutual funds without the SEC regulation.

Collective trusts fall under the regulatory purview of the Office of the Comptroller of the

Currency or individual state banking departments. Collective trusts were first organized under

state law in 1927 and were blamed for the market crash in 1929. As a result, collective trusts



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were severely restricted, giving rise to the more transparent and publicly-traded mutual funds

described above. Today, banks create collective trusts only for their trust clients and for

employee benefit plans, like the Plan. Despite their historic lack of transparency, modern

collective trust sponsors provide sufficient information for investors to make informed decisions

about the merits of investing in collective trusts. The main advantage of opting for a collective

trust, rather than a mutual fund, is the negotiability of the fees; accordingly, larger retirement

plans should be able to leverage their size for lower fees.

       20.     The Citigroup Common Stock Fund is a unitized trust fund which primarily

invests in shares of Citigroup common stock, as well as in short-term investments to provide for

the Stock Fund’s liquidity needs.

       21.     During the Class Period, Plan assets were held in a trust by the Plan trustee, Bank

of New York Mellon. All investments and asset allocations are performed through this trust

instrument.

       22.     Throughout the Class Period, Defendant maintained an investment policy

statement (“IPS”), as amended from time to time, to provide the Committee with guidelines

concerning the selection, evaluation and monitoring of Plan investment options.

       23.     The consistent application of the guidelines in an IPS is a vital component of a

prudent investment selection and monitoring process and, when employed properly, ensures that

investment funds are assessed in a consistent and replicable manner. When plan fiduciaries

adopt an IPS, the IPS becomes a binding plan document.3 In addition, prevailing standards




3
 See Fred Reish and Joan Nerl, An IPS ‘Sets’ The Standard: Once adopted, the document must
be followed, PLANSPONSOR (Sept.-Oct. 2019), available at: bit.ly/3Z1Kirl (last visited Dec.
21, 2023).

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dictate that plan fiduciaries familiarize themselves with an effective IPS, rely on an effective IPS

while monitoring a plan’s investments, and do not violate the guidance set forth in an IPS.

       24.     For the entirety of the pertinent period, the IPS prescribed ongoing review of the

Plan’s investments over one-, three- and five-year periods compared to a representative

benchmark and a peer group of similar funds. In addition to the articulated monitoring

standards, the IPS contemplates an automatic quantitative trigger that would cause funds to be

placed on a “watch list” for failing to satisfy three specific performance rules. Among the

criteria for automatic placement on watch was that an investment’s return trail that of its

benchmark by more than one-tenth, 4 and that the fund’s return trail that of its benchmark by

more than 50 basis points (0.50%). The IPS expressly permits the Committee to remove an

investment if, in its judgment, such removal is in the best interest of Plan participants.

Importantly, the IPS does not require the satisfaction of any condition beyond underperformance

for a Plan investment to be deemed noncompliant, but it provides the Committee with the

latitude to act to remove underperforming funds when such underperformance is the sole reason

for the Committee’s determination to terminate the manager. A fund is not required to have been

on the watch list prior to being removed.

B.     Target Date Funds

       25.     A target date fund (“TDF”) is an investment vehicle that offers an all-in-one

retirement solution through a portfolio of underlying funds that gradually shifts to become more

conservative as the assumed target retirement year approaches. TDFs offer investors dynamic,

straightforward asset allocation, while providing both long-term growth and capital preservation.



4
 For example, if a benchmark returned 10% over a particular period, an investment would fail
this criterion with a return of less than 9% over the same period.

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All TDFs are inherently actively managed, because managers make changes to the allocations to

stocks, bonds, and cash over time. These allocation shifts are referred to as a fund’s glide path.

       26.     TDF glide paths are managed either “to” or “through” retirement. A “to

retirement” glide path generally assumes participants will withdraw their funds once they reach

the presumed retirement age, or soon thereafter. The asset allocation of a “to retirement” TDF

remains static once the retirement date is reached. A “through retirement” glide path expects

participants will remain invested after reaching retirement and gradually draw down on their

funds. Accordingly, the terminal allocation of a “through” TDF is not reached until a

predetermined number of years after the target date.

       27.     “To retirement” strategies are managed to protect against the risk of a market

decline significantly diminishing assets, while the “through retirement” approach focuses on the

risk of outliving savings. Each strategy treats the other’s primary focus as a secondary objective

(i.e., most “to retirement” managers “have the objective of limiting portfolio volatility up to

retirement as the primary goal, and the income throughout retirement is more of a secondary

objective.”).5 TDFs designed to take investors to retirement typically de-risk faster than their

“through retirement” peers, and while this may offer greater potential protection against

downside risk, it leaves investors exposed to the potentially destructive, lasting consequences of

running out of money in retirement. The U.S. Department of Labor observed that “to retirement”

funds “are concentrated in more conservative and less volatile investments at the target date,

assuming that employees will want to cash out of the plan on the day they retire.”6 Investment



5
 Amanda Umpierrez, Evaluating ‘To’ vs. ‘Through’ Glide Paths, PLANSPONSOR, (Feb. 17,
2021), https://www.plansponsor.com/in-depth/evaluating-vs-glide-paths/
6
 Target Date Retirement Funds—Tips for ERISA Plan Fiduciaries, U.S. DEP’T OF LABOR (Feb.
2013), available at: bit.ly/3r52RhD (last visited Dec. 21, 2023).

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analyst firm Morningstar concurs that “[m]anagers build a ‘through’ retirement glide path to

account for a participant taking regular distributions in retirement from the fund, while they

construct ‘to’ glide paths using the assumption that an investor will take the money out at

retirement.”7 Presentation materials provided to the Committee by its investment advisor, Aon

Hewitt, describe the design of a “to” glide path in the same manner. As retirees trend toward

keeping savings in their retirement plans post-retirement, “through” glide paths have been more

widely utilized.8 Indeed, of the 28 TDF suites launched in the past decade which remain active,

nearly 80% adopt a “through” approach.9

          28.   The underlying mutual funds that TDF managers choose to populate each asset

class can be actively or passively managed. TDFs comprised of primarily or entirely passive

strategies provide broad market exposure at minimal cost and avoid the risk of active

management underperformance and style drift. TDFs populated with actively managed funds

tend to provide more diversified asset class exposure while offering the potential for excess

returns, particularly in less efficient asset classes where active management tends to outperform.

It is important to recognize, as the Committee itself did, that none of the foregoing classifications

of TDFs (to versus through, or active versus passive) have any real bearing on a TDF’s relative

performance results.




7
Right on Target? Plan Sponsors May Not Always Consider Participants’ Behavior or Needs
When Selecting Target-Date Glide Paths, MORNINGSTAR (July 2022).
8
    Id.
9
    MORNINGSTAR, 2022 TARGET-DATE STRATEGY LANDSCAPE (2022).

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C.      Defendant’s Breaches of Fiduciary Duties

        29.     As discussed in detail below, Defendant has severely breached its fiduciary duties

of prudence to the Plan. Plaintiff did not acquire actual knowledge regarding these breaches at

issue here until shortly before the initial complaint originating this action was filed.

                1.      The Plan’s Investment in the BlackRock LifePath Index Funds

        30.     Among other investments, the Plan lineup has, since at least December 31,

2009,10 offered the BlackRock LifePath Index Funds (“BlackRock TDFs”), a suite of ten TDFs.11

The BlackRock TDFs are significantly worse performing, both in terms of total and risk-adjusted

returns, than many of the mutual fund alternatives offered by TDF providers and accordingly

routinely failed the IPS evaluative standard of comparing favorably to peer funds and,

throughout the Class Period, could not have supported an expectation by prudent fiduciaries that

their retention in the Plan was justifiable.

        31.     Defendant was responsible for crafting the Plan lineup and could have chosen

from a wide range of prudent alternative target date families offered by competing TDF

providers, which are readily available in the marketplace, but elected to retain the BlackRock

TDFs instead, an imprudent decision that has deprived Plan participants of significant growth in

their retirement assets.

        32.     A simple weighing of the merits and features of all other available TDFs at the

beginning of the Class Period, including their actual realized outcomes and not solely projections



10
  The Plan’s Form 5500s provide a detailed schedule of the Plan’s holdings at the end of each
calendar year. The suite of BlackRock TDFs appears as a Plan investment option as far back as
the 2009 Form 5500, the earliest publicly available filing.
11
 The Plan offered an eleventh BlackRock TDF, the 2020 vintage, for a substantial part of the
Class Period. During the Fourth Quarter of 2019, the 2020 Fund was reorganized into the
Retirement Fund, and shareholders of the 2020 Fund received shares of the Retirement Fund.

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that relied on estimates and assumptions, would have raised significant concerns for prudent

fiduciaries and indicated that the BlackRock TDFs were not a suitable and prudent option for the

Plan. In addition, any objective evaluation of the BlackRock TDFs would have resulted in the

selection of a more consistent, better performing, and more appropriate TDF suite. Instead, as is

currently in vogue, Defendant appears to have chased the low fees charged by the BlackRock

TDFs without any consideration of the value provided in exchange for such fees, in the form of

the risk/return tradeoff to participant account balances. Had Defendant carried out its

responsibilities in a single-minded manner with an eye focused solely on the interests of the

participants, it would have come to this conclusion and acted upon it. Instead, Defendant

breached its fiduciary duties by failing to appropriately monitor and consequently retaining the

clearly unsuitable BlackRock TDFs.

       33.     Since the fiduciaries here employed a fundamentally irrational decision-making

process (i.e., inconsistent with their duty of prudence) based upon basic economics and

established investment theory, they clearly breached their fiduciary duties under ERISA—which

are established as being the “highest known to law.” LaScala, 479 F.3d at 219 (citing Bierwirth,

680 F.2d at 272 n.8).

       34.     Exacerbating Defendant’s imprudent decisions to retain the BlackRock TDFs is

the suite’s designation as the Plan’s Qualified Default Investment Alternative (“QDIA”). The

BlackRock TDF with the target year closest to a participant’s assumed retirement age (i.e., age

65) has served as the QDIA in the Plan throughout the Class Period. Under DOL regulations,

retirement plan fiduciaries can designate one of the investment offerings in a plan’s lineup as a

QDIA to aid participants who lack the knowledge or confidence to make investment elections for

their retirement assets. If participants do not indicate where their assets should be invested, all



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contributions are automatically invested in the QDIA. For this reason, it is vital for fiduciaries to

understand the relevant plan participant population and ensure the QDIA is a suitable and

prudent option. Indeed, Plan fiduciaries are responsible for the prudent selection and continuous

monitoring of an appropriate QDIA.

        35.    Given that the vast majority of Plan participants are not sophisticated investors,

many, by default, concentrate their retirement assets in TDFs. As such, the impact of

Defendant’s imprudent selection of TDFs is magnified vis-à-vis other asset categories. Indeed,

by December 31, 2020, approximately 20% of the Plan’s assets were invested in the BlackRock

TDFs.

                     i.        No TDF is a Passively Managed Investment

        36.    The managers of “active” investment funds try to add value by outperforming a

chosen segment of the market. Accordingly, when assessing an active fund manager’s

performance, plan fiduciaries and investment professionals will scrutinize the impact of the

manager’s decisions and the outcomes such decisions produced, i.e., the value added by the

manager. Conversely, “passive” fund managers merely seek to mimic the performance of a

chosen segment of the market, typically a recognized market index. Plan fiduciaries and

investment professionals evaluate passive managers’ ability to track the returns of their chosen

market index by examining the fund’s deviations from market index returns. These two distinct

investment management styles are thus judged through fundamentally different lenses.

        37.    A TDF is a fund of funds. While the component investment funds of a TDF

portfolio may be actively or passively managed, or a combination of both, the asset allocation

decisions made by the fund managers in setting and updating the TDF glide path are active

management decisions. Thus, it is well understood in the investing industry and among



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retirement plan professionals and fiduciaries that all TDFs are inherently actively managed.12

This well-established and widely understood dynamic should underly the evaluation of TDF

series.

          38.    There is no market index for TDF managers to mimic or track when setting a

TDF’s glide path. Accordingly, construction of a glide path involves substantial decision

making from TDF managers. Among these decisions is whether to fill the asset class bands in a

glide path with active or passive funds (or a combination of both). In industry parlance, the

BlackRock TDFs are recognized as having “passive implementation” because the portfolio is

filled with index funds. Indeed, this very description was used by the Plan’s investment

consultant, Callan, in reports it furnished to the Committee on an annual basis. However, the

Committee failed to appreciate the crucial distinction between a truly passive investment and the

passive implementation of active asset allocation decisions, and thus fundamentally

misunderstood the BlackRock TDFs to be passively managed.13


12
  See Alliance Bernstein, Target-Date Retirement Funds: A Blueprint for Effective Portfolio
Construction 52 (Oct. 2005), https://www.dol.gov/sites/dolgov/files/ebsa/laws-and-
regulations/rules-and-regulations/public- comments/target-date-funds-
hearing/supplementalmaterials1.pdf (“First, we would like to correct a common misconception:
There is no such thing as a passively managed target-date retirement fund. Substantial active
decisions are made during the construction of all such funds: which asset classes to use, how
much to allocate to each asset class and how to manage each underlying asset class.”); Jeff Holt,
The $1 Trillion Target-Date Fund Landscape, Morningstar (May 7, 2018)
https://www.morningstar.com/funds/1-trillion-target-date-fund-landscape (“no target-date series
is truly passively managed, as every target-date manager makes active decisions in designing a
glide path and selecting asset classes.”); John Greves, Jake Gilliam, & Natallia Yazhova, Charles
Schwab Investment Management, Passive Target Date Funds: Separating Myth From Reality 2
(2020) https://gravity.401kspecialistmag.com/wp-content/uploads/2020/11/TDF-11182020-
CSIM-1.pdf (“The term “passive TDF” is also somewhat misleading. There is no such thing as a
passive glide path design.”); Jed Laskowitz, Passive Funds and “Do No Harm” Are Not
Synonymous, Enterprising Investor (Sept. 15, 2021)
https://blogs.cfainstitute.org/investor/2021/09/15/passive-funds-and-do-no-harm-are-not-
synonymous/ (“it’s important to remember there is no such thing as a passively managed TDF.”).
13
     The fiduciary duty of prudence is comprised of two complementary components: procedural
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       39.     Acting upon this misconception, the Committee essentially only considered

whether the BlackRock TDFs tracked the returns of their chosen index. From the start of the

Class Period, the quarterly reports provided to the Committee compare the performance of the

BlackRock TDFs to the BlackRock custom benchmark, a weighted mix of the benchmarks of the

underlying portfolio funds. Using this custom benchmark is akin to looking in a mirror, and

provides no basis to conclude anything, positive or negative, about the BlackRock TDFs’

performance. The solitary use of the custom benchmark was fatal to Defendant’s investment

monitoring process, as it left the Committee unable to recognize, much less consider or act upon,

the BlackRock TDFs’ apparent and persistent underperformance. Indeed, in evaluating the

BlackRock TDFs in such limited fashion by mistaking an actively managed product for a

passively managed one due to the portfolio’s components, the Committee neglected to conduct

any quantitative comparison of the BlackRock TDFs, the most important investment in the Plan,

to a meaningful benchmark or peer group, thereby failing to apply its own enumerated

evaluative criteria.

       40.     The BlackRock TDFs’ custom benchmark only evaluates BlackRock’s

implementation of its asset allocation strategy. Its purpose is to reflect the funds’ asset allocation

shifts over time by reweighting the component indices quarterly to match the weighting of the

BlackRock TDF portfolio. In other words, the custom benchmark is simply a reflection of the




prudence and substantive prudence. But satisfaction of the former does not excuse failure of the
latter. Substantive prudence requires a plan fiduciary to make a reasoned decision leading to an
objectively appropriate result based on the information available. In other words, investigation
and evaluation do not excuse a rash or irrational decision. Applied here, although Defendant’s
process may have exhibited some markers of procedural prudence, the repeated decision to retain
the BlackRock TDFs due to the inappropriate treatment of the BlackRock TDFs as solely passive
investments does not and cannot satisfy substantive prudence. In other words, the nature of
Defendant’s breach of fiduciary duty is plain, clear, and established under applicable law.

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TDF portfolio. Comparison between the two does not evaluate the investment performance of

the BlackRock TDFs in any way. Instead, comparing the BlackRock TDF portfolio to the

custom benchmark shows only the portfolio’s aggregate tracking error, which demonstrates how

well a fund is tracking the returns of the index. For the BlackRock TDFs, which are a fund of

funds, the custom benchmark only indicates whether the underlying index funds are executing

their respective mandates with regard to the index they are tracking. Accordingly, the custom

benchmark is a measure of execution, not performance, and thus its use as the sole comparator

cannot satisfy the ongoing monitoring standards set forth in the IPS. But confirming that a TDF

is functioning as intended is not the same as determining whether it remains in the best interest

of Plan participants, nor is it evaluative in the manner intended by the watch list criteria

enumerated in the IPS. In other words, Defendant utterly failed to monitor the actual

performance of the BlackRock TDFs (by choosing, in essence, a meaningless benchmark with

respect to performance) in violation of the terms of the Plan’s own IPS and fiduciary standards.

The Committee gained no insight into the performance of the BlackRock TDFs, or how their

returns compare to those of available alternatives, by reviewing the custom benchmark.14 This

failure effectively prevented the Plan fiduciaries from conducting any meaningful ongoing

monitoring of the performance of the BlackRock TDFs in accordance with the guidance

established in the Plan’s own IPS and as required under ERISA, and had no way to determine if

the BlackRock TDFs were or were likely to become noncompliant with the performance




14
  “Part of a fiduciary’s responsibility in evaluating investment options is to consider reasonably
available alternatives.” Alison V. Douglass & Christina Hennecken, Goodwin Proctor LLP
Selecting, Evaluating, and Monitoring Investments in DC Plans: A Legal Perspective 4 (2021),
https://bit.ly/3GUqE8w (last visited Dec. 21, 2023).

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standards identified in the IPS, which were alone a sufficient basis for the Committee to remove

the suite.

        41.    For the entirety of the pertinent period, the IPS identified the BlackRock custom

benchmark as the sole benchmark against which the performance of the TDFs was to be

measured; the quarterly review materials furnished to the Committee contained only this data

and were bereft of any peer-relative data. This flaw was fatal to what semblance of a monitoring

process Defendant had for the BlackRock TDFs. Indeed, as the custom benchmark is essentially

a replica of the portfolio of the BlackRock TDFs, absent the management fees, the returns of the

BlackRock TDFs were highly unlikely to materially depart from those of a benchmark they were

“expected to match” (according to the funds’ manager). Accordingly, it was virtually impossible

for the returns of the BlackRock TDFs to trail those of the custom benchmark by either 50 basis

points (0.50%) or by one-tenth, rendering the IPS watch list criteria inapplicable and thus utterly

useless to the Committee in its review of the BlackRock TDFs. In other words, it was not

possible for the BlackRock TDFs to be earmarked for further investigation under the parameters

established in the IPS.

        42.    The IPS establishes that funds should be evaluated against a universe of similar

managers. The prospectuses for the mutual fund versions of the BlackRock TDFs (which have

the same investment strategy as the collective trust version of the BlackRock TDFs in the Plan)

note that the series invests in a “portfolio of assets whose performance is expected to match

approximately the performance of the Fund’s custom benchmark index.” Despite the clear

limitations of the custom benchmark as an evaluative tool, the Committee engaged in no regular

and disciplined analysis or inquiry concerning the performance of the BlackRock TDFs relative

to a TDF peer universe. It is not possible to confirm a TDF remains in the best interests of Plan



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participants by only confirming that the product is functioning as intended without regard to its

characteristics, risk, and return relative to comparable investments. Therefore, the Committee

was unable to recognize or track the BlackRock TDFs’ consistent underperformance compared

to available alternative TDFs on a rolling three- or five-year basis, which would have warranted

further review and analysis and should have been sufficient to cause a fiduciary appropriately

evaluating the BlackRock TDFs to consider their removal. Although limited past performance is

not a sufficient predictor of future performance on its own, performance is a necessary factor in

any assessment of an investment’s likelihood of future out- or underperformance. Indeed, the

Plan’s IPS recognized this by identifying performance during the previous three- and five-year

periods as key monitoring metrics.

       43.     The Committee’s failure to consider in any way the outcomes realized by Plan

participants who invested in the BlackRock TDFs rendered its monitoring process devoid of any

mechanism to identify an investment warranting an expectation of underperformance against

readily available suitable alternative investments and, therefore, replacement.

               ii.    The S&P Target Date Indices

       44.     As an evaluative tool, prudent fiduciaries will assess a TDF’s risk and return

characteristics compared to the TDF industry at large, a representation of the universe of similar

funds that the Plan’s IPS names as an appropriate performance comparator but which was not

reviewed by the Committee. According to Morningstar, the S&P Target Date Indices (“S&P

Indices”) are the most common benchmark used to approximate the overall performance of the

TDF industry. The S&P Indices, which include a separately calculated index for each target

date, “measure[] the performance of sub- indices selected and weighted to represent a consensus




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of the opportunity set available in the U.S. universe of target date funds.”15 As a composite of

the disparate strategies and styles present in the broad universe of investable alternative TDFs

and a representation of the applicable peer universe, the S&P Indices are an appropriate,

meaningful benchmark comparator for the BlackRock TDFs, and fill the gap in Defendant’s

monitoring of the suite. As each distinct TDF suite necessarily takes a different approach to the

achieving the same objective (i.e., preparing investors for retirement by a particular date), the

S&P Indices provide an amalgamation of the different characteristics of TDF strategies: TDFs

with actively and passively managed underlying funds, TDFs with different risk profiles, and, to

state the obvious, those with different asset allocations, as distinguishable TDF suites have

varying mixes of stocks, bonds and cash. Accordingly, the S&P Indices are the most widely

used TDF benchmark by investment managers and informed retirement plan fiduciaries.

               iii.    The Comparator TDFs

       45.     Measured against appropriate, available alternative TDFs pursuant to the

frameworks employed by prudent fiduciaries, the BlackRock TDFs are a vastly inferior

retirement solution that a prudent fiduciary could not have justifiably retained in the Plan, as the

persistence of the suite’s underperformance would have been flagged by any fiduciary

appropriately understanding and evaluating TDFs as actively managed investment products.

Throughout the Class Period, there were many TDF offerings that consistently and dramatically

outperformed the BlackRock TDFs, providing investors with substantially more capital

appreciation. Critically, at the time of Defendant’s decisions to select and retain the BlackRock

TDFs, those alternatives—unlike the BlackRock TDFs—supported a reasonable expectation of



15
  S&P Dow Jones Indices, S&P Target Date Index Series Methodology 3 (April 2023),
https://www.spglobal.com/spdji/en/documents/methodologies/methodology-sp-target-date.pdf.

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return to justify selection and retention in the Plan. Accordingly, the Plan’s investment in the

BlackRock TDFs has resulted in participants missing out on millions of dollars in retirement

savings growth that could have been achieved through an investment in any of the below

alternative TDFs, and indeed many other options.

       46.     Prudent fiduciaries evaluate TDF returns against an appropriate index, a broad

group of all peer TDFs, and specific, readily investable alternatives to ensure that participants are

benefiting from the current TDF offering. In addition to consideration of broader benchmarks, it

is incumbent on plan fiduciaries and a component of the standard of care applicable throughout

the Class Period to assess TDFs against readily available prudent alternatives to ensure that

participants are best served by the options available to them. Indeed, evaluation against a peer

group in this manner is consistent with the Plan’s own IPS ratified by the Committee.

Awareness of investible alternatives is even more important in relation to a plan’s QDIA, given

the gravitation of plan assets to the QDIA and importance of the QDIA to the overall design of a

plan’s investment menu.

       47.     This is particularly important in the context of the TDF market. Investment

advisors considering investments for addition to a retirement plan lineup regularly apply initial

screens that funds must pass in order to be considered, including requiring that candidate funds

have sufficient assets under management (“AUM”) such that the plan’s assets would not

represent a disproportionately large share of the fund’s assets.

       48.     The TDF market is particularly top heavy; by the end of 2021 the top six largest

TDF series managed approximately three-quarters of all TDF assets. Accordingly, most of the

TDF suites available for investment would fail initial asset-level screening criteria when applied

to the assets in the Plan. Indeed, by the end of 2016, the Plan’s approximately $1.9 billion in



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the BlackRock TDFs would represent less than 5% of the assets under management of only

seven available TDF series, or just 9% of options available in the TDF universe at that time. In

light of the structure of the TDF marketplace and commonly used minimum AUM criteria, it

would not be relevant to compare the BlackRock TDFs to TDF series with significantly smaller

levels of assets under management because the Plan would not responsibly invest in them (since

its assets would account for too much of the AUM under normal and accepted investment

principles). Likewise, it is no retort to point to the unsuitability or poor performance of a TDF

that fails this criterion in order to support a thesis that the BlackRock TDFs were somehow

suitable.

        49.    The following six TDFs dominate the market:

     Target Date Series                    Mutual Fund ($B) CIT ($B) Total ($B) Market Share
     Vanguard Target Retirement                 660           530      1,190       36.4%
     T. Rowe Price Retirement                   180           170       350        10.7%
     BlackRock LifePath Index                    61           226       287        8.8%
     American Funds Target Date Retirement      239            9        248        7.6%
     Fidelity Freedom                           221             -       221        6.8%
     Fidelity Freedom Index                     106            46       152        4.6%

Accordingly, four of the five non-BlackRock suites shown above (the “Comparator TDFs”)

represent an ideal group for comparison, as they represent the most likely alternatives to be

selected were the BlackRock TDFs to be replaced.16 It bears noting that hundreds of retirement


16
  The other TDF suite in the largest six by market share during the relevant period was the
Fidelity Freedom Funds (“Freedom Funds”), which do not represent an appropriate comparator.
The Freedom Funds would have been an imprudent selection for the Plan for the duration of the
Class Period due to myriad quantitative and qualitative red flags after undergoing a strategy
overhaul in 2014. As a result of these issues, the Freedom Funds lost considerable assets and
market share after their strategy overhaul in 2014. Yet even the anemic and imprudent Freedom
Funds outperformed the BlackRock TDFs during the Class Period. While the Freedom Funds
were not a suitable alternative for the Plan, a fiduciary applying the requisite scrutiny to the
BlackRock TDFs would have been aware of their underperformance compared to the Freedom
Funds, despite the issues plaguing the Freedom Funds. This is even further confirmation of the
inability of the BlackRock TDFs to provide competitive returns throughout the Class Period.

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plan fiduciaries select a new TDF suite each year. Conducting a TDF replacement search is

simply not possible without measuring TDFs with different styles, strategies, risk profiles and

asset allocations.

       50.     Defendant could have sought comparative returns data and other metrics for each

of the Comparator TDFs in real-time throughout the Class Period from its own Chief Investment

Officer and investments team, to whom the Committee delegated certain investment monitoring

functions, or the Committee’s investment consultant, or easily obtained it themselves through

just a few clicks of a computer mouse.17 When evaluated against the Comparator TDFs, both

individually and as a group, the actual and risk-adjusted returns of the BlackRock TDFs paled in

comparison to those of the readily available alternatives at all stages along the glide path from

aggressive to conservative. Such persistent underperformance should have been sufficient under

the terms of the IPS. But since the BlackRock TDFs were monitored using a flawed metric that

could not trigger placement on the watch list under the IPS, the Committee never sufficiently

scrutinized the BlackRock TDFs for potential removal based on future noncompliance with its

performance standards. Had the Committee’s ongoing review of the BlackRock TDFs not been

fatally limited by its fundamental misunderstanding of the investment product and instead

included some form of peer comparison, Defendant’s adherence to the Plan’s IPS should have

resulted in a termination decision.


17
  Indeed, the quarterly reports furnished to the Committee did include comparative returns data
for Vanguard, American Funds and Fidelity on a single occasion, on June 15, 2017. This
performance information clearly demonstrated the superiority of each of the Comparator TDFs
but was not discussed or scrutinized at the Committee meeting on June 15, 2017. The
Committee also received qualitative information about the TDF suites offered by Vanguard,
American Funds, Fidelity, and T. Rowe Price in a “review of other large TDF providers” on
September 18, 2020, but that quarterly report contained no performance data. The foregoing two
isolated examples support the notion that the Comparator TDFs are and were appropriate peer
TDF suites of which the Committee should have been aware.

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       51.     Any suggestion that such comparison is inappropriate because “to” glide paths,

like that of the BlackRock TDFs, adopt a more conservative approach is misleading,

notwithstanding the fact that review materials received by the Committee recognized the glide

path classification as immaterial to a TDF’s relative performance results. While the BlackRock

TDFs de-risk at a quicker pace than most of the Comparator TDFs, the resulting equity allocation

discrepancy is only reflected in its two most conservative vintages, the 2025 and Retirement

TDFs.18 Indeed, the BlackRock TDF series has the industry’s most aggressive glide path for

investors furthest from retirement and maintains a comparable equity allocation to its peers until

an investor is approaching retirement.19

                                       Percentage of Portfolio in Equities
Target Year                     2065 2060 2055 2050 2045 2040 2035 2030 2025 2020 2015 2010 2005 Retire
American Funds Trgt Date Retire 85 85 85 85 84 81 71 59 50 45 42 39                           -    -
Fidelity Freedom Index           90 90 90 90 90 89 77 62 56 49 40 30 21                           19
T. Rowe Price Retirement         94 94 94 94 92 88 79 69 58 51 47 44 41                            -
Vanguard Target Retirement       87 87 87 87 84 76 69 62 54 42 29                        -    -   29
BlackRock LifePath Index         97 97 97 96 91 82 72 60 48 40                      -    -    -    -
Comparator TDF Average           89 89 89 89 88 84 74 63 55 47
BlackRock +/- Average             8   8     8    7     4      -2    -2     -3 -7 -7

       52.     The BlackRock TDFs are considerably more aggressive than the Comparator

TDFs from the vintage intended for the youngest investors through those with a target retirement

date of 2050. For the 2045 through 2030 vintages, the latter of which is managed for investors




18
  It necessarily follows that the percentage of assets in a TDF vintage which are not allocated
to equities are in some combination of fixed income instruments and cash (with the latter
appearing in TDF portfolios primarily as the retirement date approaches). For example,
when the table “Percentage of Portfolio in Equities” notes that the allocation of the BlackRock
2055 TDF is 97% equity, this means that 3% of the portfolio is allocated to a mix of bonds
and cash.
19
  Current equity allocations were compiled from Vanguard Advisor’s online “Compare
Products” tool. Where an equity allocation is blank, the TDF does not offer that respective
vintage. The equity allocation in the BlackRock TDFs’ Retirement vintage is shown in the 2020
column.

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currently within ten years of their anticipated retirement date, the difference in equity allocations

between the BlackRock TDFs and the Comparator TDFs is negligible. Though the BlackRock

TDFs become considerably more conservative in the 2025 vintage and at retirement, each of the

Comparator TDFs ultimately reach a terminal equity allocation that is at or below the 40% of the

BlackRock TDFs.




                       iv.     Performance Comparisons

       53.     The contention that the performance of a “to,” ostensibly more conservative, TDF

cannot be compared to more aggressive series relies on the presumption that a considerably

heavier weight to equities will likely produce greater returns, as compensation for the assumption

of greater risk. The industry-leading equity allocation of the longest-dated vintages of the

BlackRock TDFs has refuted this notion consistently and dramatically throughout the Class

Period. The repeatedly inferior returns of the vintages serving young investors are matched by

similar performance shortcomings across the BlackRock TDFs’ glide path, as reflected in the

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three- and five-year annualized returns data20 below comparing the performance of the

BlackRock TDFs to that of the Comparator TDFs, as well as to the performance of the broader

universe of TDFs, as represented by the S&P Indices.21 Again, this stark underperformance

would have been readily apparent to any fiduciary appropriately evaluating the BlackRock TDFs

against peer funds and not solely a custom benchmark that the TDFs almost exactly mimic.

       54.     Moreover, analysis of a TDF’s risk-adjusted return, in concert with its actual

return, can control for any differences in asset allocation among comparators used for evaluation.

The Sharpe ratio metric, a common component of a fiduciary investment monitoring process,22

accounts for differing levels of risk by measuring the performance of an investment, such as a

TDF, compared to the performance of similar investments, after adjusting for risk. More



20
  Virtually all competent investment advisors emphasize that fiduciaries should focus on three-
and five-year returns to evaluate the performance of an investment over periods most closely
approximating a market cycle and persistent poor performance over those periods demands
investigation and action by fiduciaries. Indeed, the Plan’s IPS explicitly acknowledges that the
Committee should review investment performance over these time horizons. Any suggestion
that a TDF has a lifespan of 10 or 25 years and, therefore, performance metrics of three to five
years should not be considered is nonsensical because (a) at any point in time, many vintages of
TDFs have shorter lifespans than 10, and especially 25, years, and (b) most importantly, in light
of employment mobility in the United States (with the average employee holding a position for
slightly more than four years), competent and informed fiduciaries understand that many
participants will not maintain their TDF investments within a defined contribution plan such as
the Plan until the actual target date of the given investment. Thus, three- and five-year
performance is paramount in the minds of any competent fiduciary of a retirement plan. This is
confirmed by the language of the Plan’s own IPS.
21
  The only exception is the BlackRock Retirement TDF, which has regularly generated better
trailing returns than the two Comparator TDFs that also offer a Retirement vintage (Fidelity
Freedom Index and Vanguard Target Retirement). But the outperformance of a single vintage
does not exonerate the rest of the suite’s terrible performance. Indeed, TDFs are evaluated and
selected as a single suite. Moreover, as the BlackRock TDFs are a “to retirement” investment,
they are managed with the expectation that investors will withdraw their assets from the Plan
upon reaching the Retirement vintage or shortly thereafter.
22
 While the Plan’s IPS does not explicitly name the Sharpe ratio, it does call generally for an
analysis of investments’ risk-adjusted returns.

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specifically, the Sharpe ratio represents the additional amount of return that an investor receives

per unit increase of risk. The Sharpe ratio is computed by comparing a fund manager’s

outperformance of the risk-free rate to the standard deviation of the manager’s performance.

Applied to TDFs, this metric enables the comparison of suites with disparate equity and fixed

income allocations as well as both “to” and “through” management styles (each resulting in

varying levels of risk) by controlling for those differences. In comparing two TDFs, the Sharpe

ratio enables plan fiduciaries to determine whether Manager A, which has assumed greater risks

than Manager B, is appropriately compensating investors in the form of relatively superior

returns.23 In other words, the Sharpe ratios can inform investors and responsible fiduciaries

whether the investment they are considering is worth it compared to other readily available

investments.

       55.     The below performance data, including the three- and five-year annualized and

risk-adjusted returns, represent information that was easily accessible to Defendant during the

Class Period and would have been reviewed by prudent fiduciaries. With the single, partial

exception of the Comparator TDF returns data the Committee received but did not discuss on

June 15, 2017 (which data demonstrated the clear, marked inferiority of the BlackRock TDFs’

returns), none of the below data were reviewed by the Committee at its meetings during the

Class Period. Defendant could have sought these comparative returns data at any time from its

Chief Investment Officer and investments team or the Committee’s investment consultant, or



23
  Consider the following example: Manager A generates a return of 15% and Manager B
generates a return of 12%; the risk-free rate is 5%. Manager A’s portfolio has a standard
deviation of 8% while Manager B’s portfolio has a standard deviation of 5%. In this example,
Manager A’s Sharpe ratio is 1.25; Manager B’s is 1.4. Though Manager A generated higher
actual returns, their assumption of greater risk rendered their risk-adjusted returns inferior to
those of Manager B.

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easily obtained it themselves through just a few clicks of a computer mouse. At any point in the

Class Period, such data would have been sufficient to convince a fiduciary following a prudent

process (or the Plan’s IPS) to investigate alternatives and ultimately replace the BlackRock

TDFs.

        56.    The Committee’s first meeting during the Class Period took place on September

16, 2016. Typically, retirement plan fiduciaries review and discuss the performance numbers

available to them as of the most recent quarter-end prior to the meeting date. At its September

16, 2016 meeting, the Committee met to review data and information as of the end of the Second

Quarter of 2016. The minutes of this meeting reflect no discussion of the peer-relative

performance of the BlackRock TDFs, even though the Blackrock TDFs were obviously the

Plan’s most important investment and the IPS called for Plan investments to be compared to a

universe of similar funds. The minutes for that meeting, as with the majority of Committee

meetings during the Class Period, contain only boiler plate language stating that the BlackRock

TDFs generally performed in line with their custom benchmarks. As of the same date, however,

the BlackRock TDFs’ returns were decidedly not “in line” with those of peer TDF suites. Had

the Committee appropriately evaluated the inherently actively managed BlackRock TDFs against

a peer group or universe of TDFs, the suite’s marked underperformance should have been noted,

discussed, and scrutinized.

        57.    Indeed, as of the end of the Second Quarter of 2016, the entire BlackRock TDF

suite, except for the Retirement vintage, trailed the S&P Indices (a representation of the broad

universe of TDFs) on a three- and five-year basis. Further, the prevailing standard of care for

investment monitoring demands awareness and consideration of rolling performance to identify

trends of out- or underperformance. While underperformance over a single three- or five-year



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period is a cause for concern and scrutiny, prudent fiduciaries will seek to understand the reasons

for the underperformance and closely monitor the investment to see if it subsequently

outperforms.24 Underperformance over several consecutive three- or five-year trailing periods,

however, is a cause for both alarm and action. Due to its fundamental misunderstanding of the

BlackRock TDFs as an investment product, the Committee never considered or reviewed the

BlackRock TDFs’ inability to generate returns above those of the S&P Indices over three- and

five-year periods dating back to at least the Second Quarter of 2014. In fact, the Committee’s

misconception of the BlackRock TDFs rendered it unable to perceive, much less discuss, the

suite’s lagging returns relative to its peers when it met in the Second Quarter of 2014, Third

Quarter of 2014, Fourth Quarter of 2014, First Quarter of 2015, Second Quarter of 2015, Third

Quarter of 2015, Fourth Quarter of 2015, and the First Quarter of 2016. Had it been engaged in

an appropriate ongoing review of the BlackRock TDFs, the Committee would have been aware

at its September 16, 2016 meeting of the performance shortcomings visible at each of the

previous quarterly meetings, which presented compelling information requiring a serious and

deliberate decision as to whether there was any basis to retain the Blackrock TDFs. Sustained

underperformance is the clearest indication of a manager’s inability to provide value, which is

why prudent fiduciaries focus on those criteria.

       58.     Such a dismal trend should have been a strong indicator to the Committee of the

BlackRock TDFs’ unsuitability for the Plan. The suite’s consistent underperformance against

the Comparator TDFs served as further confirmation of the BlackRock TDFs’ inferiority. The


24
  It should be noted that “improved” or lessening underperformance over time is still just that,
underperformance. Defendant’s IPS recognized this, noting that investment managers could be
marked for closer scrutiny by being placed on a “watch list” for consistent underperformance. A
fund manager that persistently fails to outperform, however great or slight the underperformance,
persistently fails to add value.

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entire suite,25 bar the Retirement vintage, ranked in the bottom half among the Comparator TDFs

in both actual returns and risk-adjusted returns. Retirement plan fiduciaries prudently

monitoring the BlackRock TDFs would have considered and noted the underperformance against

each of BlackRock’s closest competitors, reflected in the tables below. The BlackRock TDFs’

performance fell short of its Morningstar peer funds’, as seen in the suite’s three- and five-year

Plan-asset weighted Sharpe ratios that ranked in the 64th and 66th percentile, respectively. This

means that, on a risk-adjusted basis, the returns generated by the real-time Plan assets invested in

the BlackRock TDFs ranked in the bottom half of all available TDFs.

       59.     Had the Committee been consistently and appropriately monitoring the

BlackRock TDFs’ performance against a universe of peer funds as dictated by the Plan’s own

IPS, it would have had no justifiable basis to retain the BlackRock TDFs even as of the start of

the Class Period. Instead, due to its fatal misunderstanding of the nature of TDF management,

the Committee only assessed whether the TDF tracked its custom benchmark, of which the suite

was a virtual replica. The below tables represent all of the aforementioned metrics available to

the Committee had it appropriately reviewed the performance of the BlackRock TDFs as of the

end of the Second Quarter of 2016.26

3-Year Return as of 2Q16                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.52 5.80 6.06 6.22 6.39 6.59 6.80 7.00
Outperformance vs S&P TDF Index                 (1.21) (1.21) (1.31) (1.37) (1.38) (1.27) (1.24) (1.13)
Best Performing Comparator TDF (American Funds) 7.57 8.29 8.62 8.59 8.61 8.63 8.65 8.61
Worst Performing Comparator TDF (Freedom Index) 5.54 6.26 6.42 6.71 6.75 6.82 6.89 6.98
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last                4


25
 The BlackRock 2060 TDF did not have a three-year track record until the Fourth Quarter of
2017. The BlackRock 2065 TDF did not launch until September 2019.
26
  The figures in the “Outperformance vs S&P TDF Index” row represent the BlackRock TDF’s
out- or underperformance of the corresponding vintage of the S&P Indices. A red number
indicates the annualized amount by which the BlackRock TDF underperformed its S&P
counterpart.

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5-Year Return as of 2Q16                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.39 5.69 5.96 6.17 6.34 6.52 6.70 6.97
Outperformance vs S&P TDF Index                 (0.70) (0.71) (0.76) (0.80) (0.81) (0.77) (0.74) (0.62)
Best Performing Comparator TDF (American Funds) 7.64 8.45 8.75 8.69 8.73 8.73 8.74 8.74
Worst Performing Comparator TDF (Freedom Index) 5.08 5.75 5.88 6.18 6.23 6.29 6.28 6.41
BlackRock Rank (out of 5)                         4     Last    4     Last    4      4      4      4


    Sharpe Ratio as of 2Q16            2020    2025     2030   2035   2040   2045     2050      2055
    BlackRock 3-Year Rank (out of 5)     3       3        4      4    Last   Last     Last      Last
    BlackRock 5-Year Rank (out of 5)     3       3        4      4      4    Last       4         4


               The Committee met on December 14, 2016 to review the Plan’s investment
                results as of the end of the Third Quarter of 2016. A prudent fiduciary
                would have observed a continuation of the trend identified above, as the
                BlackRock TDFs continued to exhibit severe actual and risk-adjusted
                performance issues compared to both the Comparator TDFs and the S&P
                Indices. In addition, the suite’s three- and five-year Plan-asset weighted
                Sharpe ratios ranked in the 65th and 72th percentile, respectively, among its
                peer group. The minutes of the Committee’s meeting acknowledge only that
                the BlackRock TDFs performed in line with the benchmarks that they were
                designed to replicate and contain no mention or discussion of the suite’s
                peer-relative performance.

3-Year Return as of 3Q16                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.07 5.33 5.56 5.74 5.91 6.08 6.20 6.30
Outperformance vs S&P TDF Index                 (0.68) (0.68) (0.74) (0.85) (0.86) (0.79) (0.74) (0.63)
Best Performing Comparator TDF (American Funds) 6.67 7.11 7.55 7.67 7.70 7.75 7.77 7.75
Worst Performing Comparator TDF (Freedom Index) 5.26 5.81 6.12 6.35 6.36 6.39 6.42 6.45
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


5-Year Return as of 3Q16                         2020 2025 2030 2035 2040             2045     2050     2055
BlackRock TDF                                    7.72 8.54 9.24 9.87 10.44           10.95    11.44    11.86
Outperformance vs S&P TDF Index                 (1.33) (1.29) (1.33) (1.26) (1.11)   (0.92)   (0.70)   (0.47)
Best Performing Comparator TDF (American Funds) 10.65 12.01 12.76 12.91 13.07        13.11    13.13    13.13
Worst Performing Comparator TDF (Freedom Index) 7.65 8.81 9.25 10.13 10.22           10.36    10.53    10.73
BlackRock Rank (out of 5)                         4     Last Last Last        4        4        4        4

    Sharpe Ratio as of 3Q16            2020    2025     2030   2035   2040   2045     2050      2055
    BlackRock 3-Year Rank (out of 5)     3       3        4      4    Last   Last     Last      Last
    BlackRock 5-Year Rank (out of 5)     3       4        4      4      4      4        4         4




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               The Committee met on March 13, 2017 to review the Plan’s investment
                results as of the end of the Fourth Quarter of 2016. A fiduciary prudently
                monitoring the BlackRock TDFs would have observed a continuation of the
                trend identified above, as the BlackRock TDFs continued to exhibit severe
                actual and risk-adjusted performance issues compared to both the
                Comparator TDFs and the S&P Indices. In addition, the suite’s three- and
                five-year Plan-asset weighted Sharpe ratios ranked in the 57th and 74th
                percentile, respectively, among its peer group. The minutes of the
                Committee’s meeting acknowledge only that the BlackRock TDFs
                performed in line with the benchmarks that they were designed to replicate
                and contain no mention or discussion of the suite’s peer-relative
                performance.

3-Year Return as of 4Q16                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    3.68 3.88 4.05 4.19 4.30 4.38 4.41 4.41
Outperformance vs S&P TDF Index                 (0.50) (0.44) (0.44) (0.47) (0.46) (0.45) (0.50) (0.51)
Best Performing Comparator TDF (American Funds) 4.61 4.67 5.03 5.15 5.19 5.28 5.28 5.26
Worst Performing Comparator TDF (T. Rowe Price) 3.96 4.23 4.52 4.56 4.61 4.62 4.65 4.64
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


5-Year Return as of 4Q16                         2020 2025 2030 2035 2040 2045 2050                 2055
BlackRock TDF                                    6.45 7.19 7.84 8.45 8.94 9.42 9.82                10.16
Outperformance vs S&P TDF Index                 (1.22) (1.19) (1.20) (1.15) (1.06) (0.89) (0.78)   (0.66)
Best Performing Comparator TDF (American Funds) 8.96 10.40 11.14 11.31 11.46 11.51 11.52           11.50
Worst Performing Comparator TDF (Freedom Index) 6.55 7.59 8.12 8.94 9.02 9.16 9.26                  9.45
BlackRock Rank (out of 5)                        Last Last Last Last Last            4      4        4


    Sharpe Ratio as of 4Q16            2020    2025     2030   2035   2040   2045    2050   2055
    BlackRock 3-Year Rank (out of 5)     3       3        3      4    Last   Last    Last   Last
    BlackRock 5-Year Rank (out of 5)     4       4        4      4      4    Last      4      4

               The Committee met on June 15, 2017 to review the Plan’s investment results
                as of the end of the First Quarter of 2017. A fiduciary prudently monitoring
                the BlackRock TDFs would have observed a continuation of the trend
                identified above, as the BlackRock TDFs continued to exhibit severe actual
                and risk-adjusted performance issues compared to both the Comparator
                TDFs and the S&P Indices. In addition, the suite’s three- and five-year Plan-
                asset weighted Sharpe ratios ranked in the 69th and 75th percentile,
                respectively, among its peer group. Moreover, the Committee clearly
                ignored the absolute returns data for the Vanguard and American Funds
                TDFs that it was provided, demonstrating the exact performance
                shortcomings of the BlackRock TDFs identified in the above charts, as the

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                 minutes of the Committee’s meeting acknowledge only that the BlackRock
                 TDFs performed in line with the benchmarks that they were designed to
                 replicate and contain no mention or discussion of the suite’s peer-relative
                 performance.

3-Year Return as of 1Q17                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    4.09 4.48 4.83 5.14 5.40 5.56 5.62 5.62
Outperformance vs S&P TDF Index                 (0.80) (0.68) (0.63) (0.61) (0.54) (0.53) (0.63) (0.71)
Best Performing Comparator TDF (American Funds) 5.37 5.72 6.38 6.73 6.84 6.99 7.01 7.00
Worst Performing Comparator TDF (Freedom Index) 4.78 5.14 5.72 5.95 6.14 6.17 6.20 6.17
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


5-Year Return as of 1Q17                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.76 6.42 7.01 7.56 8.01 8.40 8.68 8.92
Outperformance vs S&P TDF Index                 (1.06) (1.00) (0.98) (0.94) (0.85) (0.75) (0.77) (0.79)
Best Performing Comparator TDF (American Funds) 8.21 9.36 10.13 10.43 10.59 10.67 10.69 10.66
Worst Performing Comparator TDF (Freedom Index) 6.04 6.91 7.56 8.27 8.33 8.42 8.46 8.61
BlackRock Rank (out of 5)                        Last Last Last Last Last Last              4      4


     Sharpe Ratio as of 1Q17            2020   2025     2030   2035   2040   2045    2050   2055
     BlackRock 3-Year Rank (out of 5)   Last   Last     Last   Last   Last   Last    Last   Last
     BlackRock 5-Year Rank (out of 5)     4      4        4      4    Last   Last    Last   Last


       60.     At this point, consistent with its regular monitoring duties, the Committee should

have reviewed during the Class Period at least four consecutive quarters27 of woeful actual and

risk-adjusted three- and five-year returns by the BlackRock TDFs when measured against

appropriate peer funds and the broader TDF industry. These strong indicators of the imprudence

of the continued retention of the BlackRock TDFs should have been sufficient to convince

Defendant to investigate a replacement. Either trend of underperformance alone, whether on an




27
  Four quarters of trailing three- or five-year returns is distinct from four quarters of returns.
Plaintiff notes, for example, four consecutive quarters of trailing five-year underperformance to
show that, were the Committee attentive to the appropriate peer comparisons, it would have
reviewed five-year underperformance at four straight separate meetings (encapsulating the
returns of approximately two dozen quarters). Any trailing three- or five-year underperformance
as of a single quarter end is worth a fiduciary’s attention; trends such as those detailed in this
Complaint are cause for considerable concern.

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actual or risk-adjusted basis, should have raised alarm bells for prudent fiduciaries. That both

red flags were present here and had been present for several years, but were ignored,

demonstrates that Defendant’s misconception of TDFs was fatal to its continued review of the

suitability of the BlackRock TDFs for the Plan. Defendant allowed the suite to remain in the

Plan even as its performance issues persisted:

               The Committee met on September 20, 2017 to review the Plan’s investment
                results as of the end of the Second Quarter of 2017. A fiduciary prudently
                monitoring the BlackRock TDFs would have observed a continuation of the
                trend identified above, as the BlackRock TDFs continued to exhibit severe
                actual and risk-adjusted performance issues compared to both the
                Comparator TDFs and the S&P Indices. In addition, the suite’s three- and
                five-year Plan-asset weighted Sharpe ratios ranked in the 72nd and 77th
                percentile, respectively, among its peer group. The minutes of the
                Committee’s meeting acknowledge only that the BlackRock TDFs
                performed in line with the benchmarks that they were designed to replicate
                and contain no mention or discussion of the suite’s peer-relative
                performance.

3-Year Return as of 2Q17                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    3.67 4.08 4.45 4.79 5.07 5.23 5.25 5.19
Outperformance vs S&P TDF Index                 (0.91) (0.78) (0.71) (0.68) (0.59) (0.58) (0.71) (0.84)
Best Performing Comparator TDF (American Funds) 5.10 5.57 6.08 6.57 6.69 6.85 6.87 6.86
Worst Performing Comparator TDF (Freedom Index) 4.41 4.73 5.35 5.66 5.83 5.82 5.85 5.80
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


5-Year Return as of 2Q17                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    6.51 7.34 8.08 8.76 9.36 9.87 10.24 10.54
Outperformance vs S&P TDF Index                 (1.40) (1.33) (1.33) (1.27) (1.12) (0.96) (0.92) (0.87)
Best Performing Comparator TDF (American Funds) 9.27 10.47 11.42 11.85 12.07 12.16 12.16 12.16
Worst Performing Comparator TDF (Freedom Index) 6.96 8.01 8.77 9.73 9.82 9.93 10.01 10.19
BlackRock Rank (out of 5)                        Last Last Last Last Last Last              4      4


    Sharpe Ratio as of 2Q17            2020   2025      2030   2035   2040   2045    2050   2055
    BlackRock 3-Year Rank (out of 5)   Last   Last      Last   Last   Last   Last    Last   Last
    BlackRock 5-Year Rank (out of 5)     4      4         4    Last   Last   Last    Last   Last


               The Committee met on December 14, 2017 to review the Plan’s investment
                results as of the end of the Third Quarter of 2017. A fiduciary prudently
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                monitoring the BlackRock TDFs would have observed a continuation of the
                trend identified above, as the BlackRock TDFs continued to exhibit severe
                actual and risk-adjusted performance issues compared to both the
                Comparator TDFs and the S&P Indices. In addition, the suite’s three- and
                five-year Plan-asset weighted Sharpe ratios ranked in the 70th and 74th
                percentile, respectively, among its peer group. The minutes of the
                Committee’s meeting acknowledge only that the BlackRock TDFs
                performed in line with the benchmarks that they were designed to replicate
                and contain no mention or discussion of the suite’s peer-relative
                performance.

3-Year Return as of 3Q17                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.14 5.77 6.34 6.85 7.30 7.57 7.67 7.68
Outperformance vs S&P TDF Index                 (0.90) (0.79) (0.74) (0.72) (0.60) (0.57) (0.68) (0.78)
Best Performing Comparator TDF (American Funds) 6.83 7.46 8.03 8.61 8.85 9.01 9.05 9.05
Worst Performing Comparator TDF (Freedom Index) 5.92 6.38 7.19 7.61 7.97 8.02 8.06 8.02
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


5-Year Return as of 3Q17                         2020 2025 2030 2035 2040 2045 2050                 2055
BlackRock TDF                                    6.18 7.02 7.78 8.47 9.05 9.55 9.87                10.11
Outperformance vs S&P TDF Index                 (1.46) (1.40) (1.39) (1.35) (1.23) (1.08) (1.09)   (1.07)
Best Performing Comparator TDF (American Funds) 8.81 10.10 11.12 11.65 11.90 12.00 12.04           12.02
Worst Performing Comparator TDF (Freedom Index) 6.71 7.67 8.54 9.47 9.56 9.65 9.70                  9.85
BlackRock Rank (out of 5)                        Last Last Last Last Last Last              4        4


    Sharpe Ratio as of 3Q17            2020    2025     2030   2035   2040   2045    2050   2055
    BlackRock 3-Year Rank (out of 5)     4     Last     Last   Last   Last   Last    Last   Last
    BlackRock 5-Year Rank (out of 5)     4       4        4    Last   Last   Last    Last   Last


               The Committee met on March 19, 2018 to review the Plan’s investment
                results as of the end of the Fourth Quarter of 2017. A fiduciary prudently
                monitoring the BlackRock TDFs would have observed a continuation of the
                trend identified above, as the BlackRock TDFs continued to exhibit severe
                actual and risk- adjusted performance issues compared to both the
                Comparator TDFs and the S&P Indices. In addition, the suite’s three- and
                five-year Plan-asset weighted Sharpe ratios ranked in the 62nd and 72nd
                percentile, respectively, among its peer group. At this meeting, the Callan
                annual report the Committee received contained performance information
                ranking the BlackRock TDFs’ three- and five-year returns in the 73rd and 83rd
                percentile, respectively, among peer funds, data that was not otherwise
                regularly furnished to the Committee. It is apparent from the minutes of the


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                  Committee meeting, which detail the specific pages of the Callan report that
                  were reviewed and discussed, and which contain no mention of these
                  performance shortcomings, that the Committee never considered this dismal
                  peer-relative data when it was provided.


3-Year Return as of 4Q17                         2020 2025 2030 2035 2040 2045 2050 2055 2060
BlackRock TDF                                    5.66 6.48 7.21 7.89 8.48 8.85 8.97 8.96 8.96
Outperformance vs S&P TDF Index                 (0.82) (0.72) (0.66) (0.62) (0.47) (0.39) (0.52) (0.66) (0.74)
Best Performing Comparator TDF (American Funds) 7.41 8.11 8.75 9.56 9.89 10.09 10.16 10.15 9.68
Worst Performing Comparator TDF (Vanguard)       6.55 7.07 7.85 8.39 8.91 9.14 9.16 9.11 9.10
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last                  4


5-Year Return as of 4Q17                         2020 2025 2030 2035 2040                 2045      2050     2055
BlackRock TDF                                    6.58 7.51 8.32 9.09 9.75                10.28     10.61    10.82
Outperformance vs S&P TDF Index                 (1.34) (1.25) (1.25) (1.20) (1.04)       (0.87)    (0.87)   (0.88)
Best Performing Comparator TDF (American Funds) 9.09 10.36 11.50 12.13 12.45             12.57     12.62    12.60
Worst Performing Comparator TDF (Freedom Index) 7.30 8.29 9.30 10.36 10.46               10.54     10.60    10.74
BlackRock Rank (out of 5)                        Last Last Last Last Last                 Last       4        4


 Sharpe Ratio as of 4Q17              2020    2025    2030    2035    2040    2045    2050        2055      2060
 BlackRock 3-Year Rank (out of 5)       3       4       4     Last    Last    Last    Last        Last      Last
 BlackRock 5-Year Rank (out of 5)       4     Last      4     Last    Last    Last    Last        Last      N/A


                 The Committee met on June 18, 2018 to review the Plan’s investment results
                  as of the end of the First Quarter of 2018. A fiduciary prudently monitoring
                  the BlackRock TDFs would have observed a continuation of the trend
                  identified above, as the BlackRock TDFs continued to exhibit severe actual
                  and risk- adjusted performance issues compared to both the Comparator
                  TDFs and the S&P Indices. In addition, the suite’s three- and five-year Plan-
                  asset weighted Sharpe ratios ranked in the 68th and 73rd percentile,
                  respectively, among its peer group. The minutes of the Committee’s
                  meeting acknowledge only that the BlackRock TDFs performed in line with
                  the benchmarks that they were designed to replicate and contain no mention
                  or discussion of the suite’s peer-relative performance.

3-Year Return as of 1Q18                         2020 2025 2030 2035 2040 2045 2050 2055 2060
BlackRock TDF                                    4.63 5.37 6.03 6.65 7.17 7.49 7.60 7.59 7.59
Outperformance vs S&P TDF Index                 (0.70) (0.64) (0.59) (0.56) (0.44) (0.39) (0.51) (0.65) (0.73)
Best Performing Comparator TDF (American Funds) 6.50 7.12 7.86 8.86 9.20 9.41 9.53 9.51 9.49
Worst Performing Comparator TDF (Vanguard)       5.62 6.06 6.83 7.35 7.86 8.10 8.11 8.05 8.06
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last Last




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5-Year Return as of 1Q18                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.51 6.30 6.99 7.63 8.18 8.62 8.84 8.98
Outperformance vs S&P TDF Index                 (1.12) (1.04) (1.03) (1.01) (0.89) (0.76) (0.83) (0.88)
Best Performing Comparator TDF (American Funds) 7.92 8.83 9.94 10.63 10.93 11.07 11.12 11.12
Worst Performing Comparator TDF (Freedom Index) 6.31 7.12 8.07 8.97 9.04 9.09 9.14 9.21
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


 Sharpe Ratio as of 1Q18            2020   2025    2030   2035    2040   2045    2050    2055   2060
 BlackRock 3-Year Rank (out of 5)   Last   Last    Last   Last    Last   Last    Last    Last   Last
 BlackRock 5-Year Rank (out of 5)   Last   Last    Last   Last    Last   Last    Last    Last   N/A


       61.        At this point, consistent with its regular monitoring duties, the Committee should

have reviewed at least eight consecutive quarters demonstrating the BlackRock TDFs’ persistent

inability to beat the actual or risk-adjusted three- and five-year returns generated by the

Comparator TDFs and the broader TDF industry. That is, from the start of the Class Period, the

BlackRock TDFs had failed to generate returns to beat the Comparator TDFs or the S&P Indices

for eight consecutive three-year periods and eight consecutive five-year periods, while

simultaneously failing to outperform the same comparators adjusting for the levels of risk

assumed and demonstrating an inability to produce risk-adjusted returns among the top half of all

TDFs. The Committee’s unjustifiable failure to replace the suite by this juncture, despite its

clear and apparent noncompliance with the peer-relative IPS performance standards, represents a

severe breach of fiduciary duty.

       62.        These issues discussed above endured:

                The Committee met on September 20, 2018 to review the Plan’s investment
                 results as of the end of the Second Quarter of 2018. A fiduciary prudently
                 monitoring the BlackRock TDFs would have observed a continuation of the trend
                 identified above, as the BlackRock TDFs continued to exhibit severe actual and
                 risk-adjusted performance issues compared to both the Comparator TDFs and the
                 S&P Indices. In addition, the suite’s three- and five-year Plan-asset weighted
                 Sharpe ratios ranked in the 56th and 67th percentile, respectively, among its peer
                 group. The minutes of the Committee’s meeting acknowledge only that the
                 BlackRock TDFs performed in line with the benchmarks that they were designed

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                to replicate and contain no mention or discussion of the suite’s peer-relative
                performance.

3-Year Return as of 2Q18                         2020 2025 2030 2035 2040 2045 2050 2055 2060
BlackRock TDF                                    5.10 5.89 6.60 7.26 7.83 8.19 8.32 8.30 8.31
Outperformance vs S&P TDF Index                 (0.80) (0.70) (0.63) (0.57) (0.43) (0.32) (0.43) (0.56) (0.66)
Best Performing Comparator TDF (American Funds) 6.64 7.27 8.16 9.19 9.56 9.76 9.88 9.90 9.89
Worst Performing Comparator TDF (Vanguard)       6.04 6.49 7.19 7.66 8.14 8.40 8.40 8.37 8.37
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last Last


5-Year Return as of 2Q18                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.99 6.77 7.47 8.10 8.66 9.07 9.28 9.40
Outperformance vs S&P TDF Index                 (0.93) (0.83) (0.79) (0.78) (0.64) (0.53) (0.61) (0.66)
Best Performing Comparator TDF (American Funds) 8.06 8.89 9.86 10.61 10.91 11.06 11.15 11.12
Worst Performing Comparator TDF (Freedom Index) 6.79 7.58 8.54 9.31 9.49 9.53 9.58 9.64
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


 Sharpe Ratio as of 2Q18              2020    2025    2030    2035    2040      2045      2050     2055          2060
 BlackRock 3-Year Rank (out of 5)     Last    Last    Last    Last    Last      Last      Last     Last          Last
 BlackRock 5-Year Rank (out of 5)       4     Last    Last    Last    Last      Last      Last     Last          N/A


               The Committee met on December 10, 2018 to review the Plan’s investment
                results as of the end of the Third Quarter of 2018. A fiduciary prudently
                monitoring the BlackRock TDFs would have observed a continuation of the trend
                identified above, as the BlackRock TDFs continued to exhibit severe actual and
                risk-adjusted performance issues compared to both the Comparator TDFs and the
                S&P Indices. In addition, the suite’s three- and five-year Plan-asset weighted
                Sharpe ratios ranked in the 54th and 69th percentile, respectively, among its peer
                group. The minutes of the Committee’s meeting acknowledge only that the
                BlackRock TDFs performed in line with the benchmarks that they were designed
                to replicate and contain no mention or discussion of the suite’s peer-relative
                performance.

3-Year Return as of 3Q18                         2020 2025 2030 2035           2040    2045     2050     2055      2060
BlackRock TDF                                    7.27 8.60 9.80 10.95         11.94    12.55   12.74    12.72     12.70
Outperformance vs S&P TDF Index                 (1.09) (0.85) (0.67) (0.49)   (0.16)   0.01    (0.19)   (0.40)    (0.64)
Best Performing Comparator TDF (American Funds) 9.61 10.59 11.56 13.05        13.45    13.76   13.91    13.91     13.87
Worst Performing Comparator TDF (Vanguard)       8.40 9.70 10.66 11.61        12.54    12.91   12.90    12.89     12.89
BlackRock Rank (out of 5)                        Last Last Last Last           Last     Last    Last     Last      Last




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5-Year Return as of 3Q18                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.58 6.34 7.02 7.64 8.20 8.59 8.75 8.81
Outperformance vs S&P TDF Index                 (0.91) (0.79) (0.76) (0.75) (0.59) (0.46) (0.55) (0.61)
Best Performing Comparator TDF (American Funds) 7.32 8.01 8.98 9.79 10.08 10.26 10.35 10.32
Worst Performing Comparator TDF (Freedom Index) 6.55 7.24 8.13 8.69 9.17 9.26 9.28 9.30
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


 Sharpe Ratio as of 3Q18             2020    2025    2030    2035    2040    2045    2050    2055    2060
 BlackRock 3-Year Rank (out of 5)    Last    Last    Last    Last    Last    Last    Last    Last    Last
 BlackRock 5-Year Rank (out of 5)    Last    Last    Last    Last    Last    Last    Last    Last    N/A


               The Committee met on March 22, 2019 to review the Plan’s investment results as
                of the end of the Fourth Quarter of 2018. A fiduciary prudently monitoring the
                BlackRock TDFs would have observed a continuation of the trend identified
                above, as the BlackRock TDFs continued to exhibit severe actual and risk-
                adjusted performance issues compared to both the Comparator TDFs and the S&P
                Indices. In addition, the suite’s five-year Plan-asset weighted Sharpe ratio ranked
                in the 55th percentile among its peer group. At this meeting, the Callan annual
                report the Committee received contained performance information ranking the
                BlackRock TDFs’ three- and five-year returns in the 58th and 66th percentile,
                respectively, among peer funds, data that was not otherwise regularly furnished to the
                Committee. It is apparent from the minutes of the Committee meeting, which detail
                the specific pages of the Callan report that were reviewed and discussed, and which
                contain no mention of these performance shortcomings, that the Committee never
                considered this dismal peer-relative data when it was provided.

3-Year Return as of 4Q18                         2020 2025 2030 2035        2040   2045   2050 2055 2060
BlackRock TDF                                    4.71 5.23 5.70 6.14        6.51   6.69   6.72 6.70 6.69
Outperformance vs S&P TDF Index                 (0.33) (0.24) (0.08) 0.06   0.18   0.18   0.04 (0.12) (0.26)
Best Performing Comparator TDF (American Funds) 5.72 6.12 6.92 7.43         7.62   7.77   7.83 7.81 7.81
Worst Performing Comparator TDF (Vanguard)       5.32 5.73 6.07 6.41        6.75   6.78   6.77 6.77 6.75
BlackRock Rank (out of 5)                        Last Last Last Last        Last   Last   Last Last Last


5-Year Return as of 4Q18                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    3.70 4.00 4.27 4.51 4.70 4.80 4.82 4.81
Outperformance vs S&P TDF Index                 (0.40) (0.32) (0.24) (0.18) (0.12) (0.11) (0.19) (0.26)
Best Performing Comparator TDF (American Funds) 4.69 5.00 5.63 5.95 6.05 6.17 6.19 6.17
Worst Performing Comparator TDF (Vanguard)       4.24 4.50 4.82 4.99 5.10 5.13 5.12 5.10
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


 Sharpe Ratio as of 4Q18             2020    2025    2030    2035    2040    2045    2050    2055    2060
 BlackRock 3-Year Rank (out of 5)      4     Last    Last    Last    Last    Last    Last    Last    Last
 BlackRock 5-Year Rank (out of 5)      3     Last    Last    Last    Last    Last    Last    Last    N/A

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              The Committee met on June 26, 2019 to review the Plan’s investment results
               as of the end of the First Quarter of 2019. A fiduciary prudently monitoring
               the BlackRock TDFs would have observed a continuation of the trend
               identified above, as the BlackRock TDFs continued to exhibit severe actual
               and risk- adjusted performance issues compared to both the Comparator TDFs
               and the S&P Indices. In addition, the suite’s five-year Plan-asset weighted
               Sharpe ratio ranked in the 57th percentile among its peer group. The minutes
               of the Committee’s meeting acknowledge only that the BlackRock TDFs
               performed in line with the benchmarks that they were designed to replicate
               and contain no mention or discussion of the suite’s peer-relative
               performance.


3-Year Return as of 1Q19                         2020 2025 2030 2035 2040        2045    2050    2055     2060
BlackRock TDF                                    6.36 7.38 8.28 9.14 9.89        10.34   10.48   10.47   10.45
Outperformance vs S&P TDF Index                 (0.61) (0.37) (0.16) 0.04 0.33   0.48    0.36    0.18    (0.03)
Best Performing Comparator TDF (American Funds) 8.24 9.05 9.79 10.88 11.28       11.50   11.62   11.62   11.58
Worst Performing Comparator TDF (Vanguard)       7.12 8.18 8.87 9.52 10.20       10.43   10.43   10.43   10.42
BlackRock Rank (out of 5)                        Last Last Last Last Last         Last     4       4       4


5-Year Return as of 1Q19                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    4.70 5.26 5.75 6.19 6.57 6.80 6.89 6.88
Outperformance vs S&P TDF Index                 (0.57) (0.40) (0.31) (0.22) (0.09) (0.00) (0.07) (0.14)
Best Performing Comparator TDF (American Funds) 5.93 6.41 7.12 7.77 7.98 8.12 8.19 8.18
Worst Performing Comparator TDF (Vanguard)       5.54 5.92 6.39 6.69 6.96 7.08 7.08 7.05
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


Sharpe Ratio as of 1Q19            2020    2025   2030    2035    2040    2045     2050     2055     2060
BlackRock 3-Year Rank (out of 5)   Last    Last   Last    Last    Last    Last     Last     Last     Last
BlackRock 5-Year Rank (out of 5)   Last    Last   Last    Last    Last    Last     Last     Last     N/A


              The Committee met on September 13, 2019 to review the Plan’s investment
               results as of the end of the Second Quarter of 2019. A fiduciary prudently
               monitoring the BlackRock TDFs would have observed a continuation of the trend
               identified above, as the BlackRock TDFs continued to exhibit severe actual and
               risk-adjusted performance issues compared to both the Comparator TDFs and the
               S&P Indices. In addition, the suite’s five-year Plan-asset weighted Sharpe ratio
               ranked in the 60th percentile among its peer group. The minutes of the
               Committee’s meeting acknowledge only that the BlackRock TDFs performed in
               line with the benchmarks that they were designed to replicate and contain no
               mention or discussion of the suite’s peer-relative performance.


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3-Year Return as of 2Q19                         2020 2025 2030 2035          2040    2045    2050    2055      2060
BlackRock TDF                                    6.65 7.69 8.61 9.48          10.24   10.68   10.82   10.81    10.80
Outperformance vs S&P TDF Index                 (0.63) (0.40) (0.22) (0.02)   0.23    0.36    0.21    0.01     (0.21)
Best Performing Comparator TDF (American Funds) 8.75 9.67 10.51 11.37         11.69   11.83   11.95   11.92    11.90
Worst Performing Comparator TDF (Vanguard)       7.27 8.39 9.39 10.09         10.79   11.05   11.03   11.04    11.03
BlackRock Rank (out of 5)                        Last Last Last Last           Last    Last    Last    Last     Last


5-Year Return as of 2Q19                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    4.63 5.14 5.58 5.99 6.33 6.52 6.57 6.53
Outperformance vs S&P TDF Index                 (0.52) (0.39) (0.31) (0.25) (0.14) (0.08) (0.16) (0.26)
Best Performing Comparator TDF (American Funds) 5.79 6.26 6.90 7.54 7.74 7.90 7.97 7.94
Worst Performing Comparator TDF (Vanguard)       5.48 5.82 6.22 6.48 6.72 6.86 6.85 6.82
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last


 Sharpe Ratio as of 2Q19              2020    2025    2030    2035    2040      2045     2050     2055        2060
 BlackRock 3-Year Rank (out of 5)     Last    Last    Last    Last    Last      Last     Last     Last        Last
 BlackRock 5-Year Rank (out of 5)       4     Last    Last    Last    Last      Last     Last     Last        N/A

               The Committee met on December 13, 2019 to review the Plan’s investment
                results as of the end of the Third Quarter of 2019. A fiduciary prudently
                monitoring the BlackRock TDFs would have observed a continuation of the trend
                identified above, as the BlackRock TDFs continued to exhibit severe actual and
                risk-adjusted performance issues compared to both the Comparator TDFs and the
                S&P Indices. In addition, the suite’s five-year Plan-asset weighted Sharpe ratio
                ranked in the 55th percentile among its peer group. The minutes of the
                Committee’s meeting acknowledge only that the BlackRock TDFs performed in
                line with the benchmarks that they were designed to replicate and contain no
                mention or discussion of the suite’s peer-relative performance.

3-Year Return as of 3Q19                         2020 2025 2030 2035 2040 2045 2050 2055 2060
BlackRock TDF                                    6.25 7.05 7.74 8.40 8.96 9.28 9.37 9.37 9.35
Outperformance vs S&P TDF Index                 (0.47) (0.31) (0.19) (0.06) 0.13 0.21 0.08 (0.06) (0.26)
Best Performing Comparator TDF (American Funds) 7.59 8.28 9.22 10.04 10.04 10.12 10.21 10.19 10.16
Worst Performing Comparator TDF (Vanguard)       6.66 7.52 8.29 8.78 9.28 9.41 9.42 9.41 9.41
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last Last


5-Year Return as of 3Q19                         2020 2025 2030 2035 2040 2045 2050 2055
BlackRock TDF                                    5.22 5.73 6.16 6.56 6.90 7.09 7.15 7.15
Outperformance vs S&P TDF Index                 (0.47) (0.37) (0.31) (0.26) (0.17) (0.12) (0.19) (0.26)
Best Performing Comparator TDF (American Funds) 6.27 6.74 7.16 7.75 7.95 8.09 8.14 8.13
Worst Performing Comparator TDF (Vanguard)       5.80 6.33 6.67 6.92 7.15 7.23 7.24 7.21
BlackRock Rank (out of 5)                        Last Last Last Last Last Last Last Last



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 Sharpe Ratio as of 3Q19            2020   2025    2030   2035   2040   2045   2050   2055    2060
 BlackRock 3-Year Rank (out of 5)     4    Last    Last   Last   Last   Last   Last   Last    Last
 BlackRock 5-Year Rank (out of 5)     3      4     Last   Last   Last   Last   Last   Last    N/A


       63.      By this point, consistent with its regular monitoring duties, beginning with the

start of the Class Period, the Committee should have reviewed at least three and a half years’

worth of concerning and severely disappointing datapoints (and many more datapoints prior to

the Class Period) laying bare the inability of the BlackRock TDFs to generate returns that beat

any of the comparators discussed in this complaint, which should have been more than sufficient

to convince a fiduciary adhering to the instructions in the Plan’s IPS to remove funds that were

no longer in the best interest of participants that the BlackRock TDFs were no longer appropriate

for inclusion in the Plan investment menu. Instead, hamstrung by a deficient monitoring process

that only considered the returns of the BlackRock TDFs against those of a benchmark it was

designed to mimic, the Committee failed to monitor its QDIA and cornerstone investment

consistent with its own guidance and minimum fiduciary standards under ERISA. As such, the

Committee missed repeated warning signs calling for investigation and removal of the

BlackRock TDFs.

       64.      Although the relative performance of the BlackRock TDFs exhibited some

modest improvements in subsequent quarters, those modest improvements were insubstantial and

do not diminish Defendant’s profound breach of fiduciary duty by retaining the suite in the face

of overwhelming and consistent evidence that it could not provide sufficient returns to justify its

retention. Nor did any minor improvements compensate for Plan participants’ loss of tens of

millions of dollars in capital appreciation for their retirement. Any suggestion that the

performance of the BlackRock TDFs marginally improved in the later part of the Class Period

cannot excuse the Committee’s abject failure to monitor the performance of the BlackRock

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TDFs in a manner consistent with the IPS instruction to evaluate peer-relative returns. To do so

would inappropriately exonerate a breach by hindsight. Moreover, the BlackRock TDFs

continued to dramatically and repeatedly underperform the average return of the Comparator

TDFs for virtually the entire relevant period, as demonstrated in the charts below comparing the

three- and five-year annualized returns of several representative vintages of the BlackRock TDFs

to those of the same iterations of the Comparator TDFs, namely the 2025, 2040, and 2055 TDFs,

which are the second-shortest dated (2025) and second-longest dated (2055) BlackRock TDFs, as

well as the fund that represents the midpoint of the nine vintages for which there were at least

three-year trailing returns (2040). These three vintages represent conservative, moderate and

aggressive stages along the BlackRock TDF glidepath and are representative of the shortcomings

of the entire suite.




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       65.      These returns, and all returns cited in this Complaint, are annualized, meaning the

differences in the returns between the BlackRock TDFs and Comparator TDFs are equivalent to

the specified difference in each of the three or five years in the period compounded. This is not

the same as saying the funds underperformed by the specified amount over the entire time

period. Thus, the negative performance figures represent persistent and substantial shortcomings

that could not have supported a determination by prudent fiduciaries that the BlackRock TDFs

could be justifiably retained in the Plan. Indeed, from the start of the Class Period through the

filing of the complaint initiating this action, the BlackRock TDFs cumulatively underperformed

each of the comparator TDFs (on a Plan-asset weighted basis) by the below amounts which,

applied to the considerable amount of Plan assets in the suite, resulted in the loss of dozens of

millions in missed capital appreciation for the retirement savings of Plan participants:

             BlackRock Cumulative Underperformance vs American Funds                 8.52%
             BlackRock Cumulative Underperformance vs Freedom Index Funds            4.37%
             BlackRock Cumulative Underperformance vs T. Rowe Price                  6.77%
             BlackRock Cumulative Underperformance vs Vanguard                       1.30%




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        66.    All the above information was readily available to Defendant in real time

throughout the relevant period. Defendant, however, neglected to undertake any analysis of the

BlackRock TDFs against appropriate peers using the above or other important performance

metrics due to a misunderstanding of the suite’s management characteristics that was both fatal

to their ongoing evaluation of the BlackRock TDFs and rendered the IPS’ automatic quantitative

watch list trigger criteria useless concerning the suite. If Defendant had taken its fiduciary duties

seriously during the Class Period, it would have replaced the BlackRock TDFs with a suitable

alternative TDF. Its failure to do so caused Plan participants to miss out on substantial

investment returns for their retirement savings.

        67.    The consistently substandard performance of the BlackRock TDFs was also

visible at the suite level throughout the pertinent period. The below charts demonstrate the

rolling out- or underperformance of the BlackRock TDFs versus each of the Comparator TDFs,

weighting the returns of each distinct vintage equally to produce an aggregate suite-level return,

another form of TDF analysis regularly undertaken by all investment advisors and competent

fiduciaries.




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            BlackRock Rolling Returns vs American Funds




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          BlackRock Rolling Returns vs Fidelity Freedom Index




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             BlackRock Rolling Returns vs T. Rowe Price




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                             BlackRock Rolling Returns vs Vanguard




       68.     The returns of each vintage of a TDF suite, however, are not experienced by a

Plan in equal measure, as Plan assets are distributed in different quantities across the glide path

depending on a multitude of Plan specific factors. Accordingly, prudent fiduciaries will perform




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the same analysis as set forth above to compare aggregate suite-level returns that are asset-

weighted.28

                         BlackRock Rolling Returns vs American Funds




28
  Returns are weighted according to the asset levels invested in each vintage of the BlackRock
TDFs at the start of the Class Period. For example, if the Plan had $100 million in total assets in
the BlackRock TDFs, $10 million of which was invested in the 2030 vintage, the returns of the
2030 vintage would be given a 10% weight in the performance composite.

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          BlackRock Rolling Returns vs Fidelity Freedom Index




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             BlackRock Rolling Returns vs T. Rowe Price




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               BlackRock Rolling Returns vs Vanguard




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       69.     Defendant had immediate access to historical and then-current returns data for the

BlackRock TDFs. The troubling pattern identified above, which persisted for the entire Class

Period, was ignored by Defendant, who neglected to appropriately scrutinize the BlackRock

TDFs against any of the many superior TDFs available in the market, or the broader TDF market

as a whole. In fact, notwithstanding the warning signs detailed above, the minutes of meetings

of the Committee from September 16, 2016 through at least December 13, 2019 do not reflect a

single instance in which the Committee meaningfully discussed the performance issues of the

BlackRock TDFs relative to its peers.

       70.     The knowable facts about Defendant’s fiduciary process, including the

Committee’s consistent failure to recognize, investigate, and remedy repeated failures of the

peer-relative investment monitoring criteria adopted in the Plan’s own IPS, failure to recognize

the deficiency in the IPS watch list quantitative trigger rules as applied to the BlackRock TDFs,

and failure to heed or recognize the utility of what limited and infrequent TDF peer performance

data was furnished to the Committee or seek out a recurring stream of such data, each support the

inescapable inference that Defendant’s fiduciary process was inadequate.

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       71.     Had Defendant had taken its fiduciary duties seriously during the Class Period

and acted consistent with the guidance of its IPS and minimum fiduciary standards under

ERISA, it would have, upon observing the underperformance of the BlackRock TDFs relative to

their applicable S&P Indices, the TDF universe, and specific readily investable peers, replaced

the BlackRock TDFs with a suitable alternative TDF suite. Defendant’s failure to do so caused

Plan participants to miss out on substantial investment returns for their retirement savings.

                             V.     ERISA’S FIDUCIARY STANDARDS

       72.     ERISA imposes strict fiduciary duties of loyalty and prudence upon the

Defendants as fiduciaries of the Plan. Section 404(a) of ERISA, 29 U.S.C. § 1104(a), states, in

relevant part, as follows:

               [A] fiduciary shall discharge his duties with respect to a plan solely in the
               interest of the participants and beneficiaries and -

                       (A)        for the exclusive purpose of

                                          (i)    providing benefits to participants and their
                                                 beneficiaries; and

                                          (ii)   defraying     reasonable      expenses      of
                                                 administering the plan;

                                  [and]

                       (B)        with the care, skill, prudence, and diligence under the
                                  circumstances then prevailing that a prudent man acting in a
                                  like capacity and familiar with such matters would use in the
                                  conduct of an enterprise of like character and with like aims.

       73.     Under 29 U.S.C. § 1103(c)(l), with certain exceptions not relevant here, the assets

of a plan shall never inure to the benefit of any employer and shall be held for the exclusive

purposes of providing benefits to participants in a plan and their beneficiaries and defraying

reasonable expenses of administering the plan.



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       74.     Under ERISA, parties that exercise any authority or control over plan assets,

including the selection of plan investments and service providers, are fiduciaries and must act

prudently and solely in the interest of participants in a plan.

       75.     ERISA’s fiduciary duties are “the highest known to the law” and must be

performed “with an eye single” to the interests of participants. LaScala, 479 F.3d at 219 (citing

Bierwirth, 680 F.2d at 272 n.8).

       76.     ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries. Section

405(a) of ERISA, 29 U.S.C. § 1105(a) provides a cause of action against a fiduciary for

knowingly participating in a breach by another fiduciary and knowingly failing to cure any

breach of duty. ERISA states, in relevant part, as follows:

                 In addition to any liability which he may have under any other provision
                 of this part, a fiduciary with respect to a plan shall be liable for a breach of
                 fiduciary responsibility of another fiduciary with respect to the same plan
                 in the following circumstances:

                       (1)       if he participates knowingly in, or knowingly undertakes to
                                 conceal, an act or omission of such other fiduciary,
                                 knowing such act or omission is a breach; or

                       (2)       if, by his failure to comply with section 404(a)(l) in the
                                 administration of his specific responsibilities which give
                                 risk to his status as a fiduciary, he has enabled such other
                                 fiduciary to commit a breach; or

                       (3)       if he has knowledge of a breach by such other fiduciary,
                                 unless he makes reasonable efforts under the circumstances
                                 to remedy the breach.

       77.     Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2) authorizes a plan participant

to bring a civil action to enforce a breaching fiduciary’s liability to the plan under Section 409,

29 U.S.C. § 1109. Section 409(a) of ERISA provides, in relevant part:

               Any person who is a fiduciary with respect to a plan who breaches
               any of the responsibilities, obligations, or duties imposed upon

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               fiduciaries by this subchapter shall be personally liable to make
               good to such plan any losses to the plan resulting from each such
               breach, and to restore to such plan any profits of such fiduciary
               which have been made through use of assets of the plan by the
               fiduciary, and shall be subject to such other equitable or remedial
               relief as the court may deem appropriate, including removal of such
               fiduciary.

                                 VI.     CLASS ALLEGATIONS

      78.      This action is brought as a class action by Plaintiff on behalf of herself and the

following proposed Class:

               All participants and beneficiaries in the Citi Retirement Savings Plan at any
               time on or after July 29, 2016 and continuing to the date of judgment, or
               such earlier date that the Court determines is appropriate and just, including
               any beneficiary of a deceased person who was a participant in the Plan at
               any time during the Class Period.

Excluded from the Class are Defendants and the Judge to whom this case is assigned or any

other judicial officer having responsibility for this case who is a beneficiary.

      79.      This action may be maintained as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure.

      80.      Numerosity. Plaintiff is informed and believes that there are at least thousands of

Class members throughout the United States. As a result, the members of the Class are so

numerous that their individual joinder in this action is impracticable.

      81.      Commonality. There are numerous questions of fact and/or law that are common

to Plaintiff and all the members of the Class, including, but not limited to the following:

       (a)     Whether Defendants failed and continue to fail to discharge their duties with

respect to the Plan solely in the interest of the Plan’s participants for the exclusive purpose of

providing benefits to participants and their beneficiaries;




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        (b)     Whether Defendants breached their fiduciary duties under ERISA by failing to

 defray the reasonable expenses of administering the Plan; and

        (c)     Whether and what form of relief should be afforded to Plaintiff and the Class.

       82.      Typicality. Plaintiff, who is a member of the Class, has claims that are typical of

 all the members of the Class. Plaintiff’s claims and all the Class members’ claims arise out of

 the same uniform course of conduct by Defendants and arise under the same legal theories that

 are applicable as to all other members of the Class. In addition, Plaintiff seeks relief for the

 Plan under the same remedial theories that are applicable as to all other members of the Class.

       83.      Adequacy of Representation. Plaintiff will fairly and adequately represent the

 interests of the members of the Class. Plaintiff has no conflicts of interest with other members

 of the Class or interests that are any different from the other members of the Class. Plaintiff has

 retained competent counsel experienced in class action and other complex litigation, including

 class actions under ERISA.

         84. Potential Risks and Effects of Separate Actions. The prosecution of separate

actions by or against individual Class members would create a risk of: (A) inconsistent or

varying adjudications with respect to individual Class members that would establish

incompatible standards of conduct for the party opposing the Class; or (B) adjudications with

respect to individual class members that, as a practical matter, would be dispositive of the

interests of the other members not parties to the individual adjudications or would substantially

impair or impede their ability to protect their interests.

       85.      Predominance. Common questions of law and fact predominate over questions

 affecting only individual Class members, and the Court, as well as the parties, will spend the

 vast majority of their time working to resolve these common issues. Indeed, virtually the only


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individual issues of significance will be the exact amount of damages recovered by each Class

member, the calculation of which will ultimately be a ministerial function and which does not

bar Class certification.

      86.      Superiority. A class action is superior to all other feasible alternatives for the

resolution of this matter. The vast majority of, if not all, Class members are unaware of

Defendants’ breaches of fiduciary duty and prohibited transactions such that they will never

bring suit individually. Furthermore, even if they were aware of the claims they have against

Defendants, the claims of virtually all Class members would be too small to economically

justify individual litigation. Finally, individual litigation of multiple cases would be highly

inefficient, a gross waste of the resources of the courts and of the parties, and potentially could

lead to inconsistent results that would be contrary to the interests of justice.

      87.      Manageability. This case is well-suited for treatment as a class action and easily

can be managed as a class action since evidence of both liability and damages can be adduced,

and proof of liability and damages can be presented on a Class-wide basis, while the allocation

and distribution of damages to Class members would be essentially a ministerial function.

      88.      Defendant has acted on grounds generally applicable to the Class by uniformly

subjecting them to the breaches of fiduciary duty described above. Accordingly, injunctive

relief, as well as legal and/or equitable monetary relief (such as disgorgement and/or

restitution), along with corresponding declaratory relief, are appropriate with respect to the

Class as a whole.

       89.     Plaintiff’s counsel will fairly and adequately represent the interests of the Class

and are best able to represent the interests of the Class under Rule 23(g) of the Federal Rules of




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Civil Procedure. Moreover, treating this case as a class action is superior to proceeding on an

individual basis and there will be no difficulty in managing this case as a class action.

        90.     Therefore, this action should be certified as a class action under Rules 23(a) and

23(b)(1) and/or 23(b)(3) of the Federal Rules of Civil Procedure.

                                            COUNT I
                                  (For Breach of Fiduciary Duty)

        91.     Plaintiff incorporates by reference the allegations in the previous paragraphs of

this Complaint as if fully set forth herein.

        92.     Defendants’ conduct, as set forth above, violates their fiduciary duties under

Sections 404(a)(1)(A), (B) and (D) of ERISA, 29 U.S.C. § 1104(a)(1)(A), (B) and (D), in that

Defendants failed and continue to fail to discharge their duties with respect to the Plan solely in

the interest of the Plan’s participants and beneficiaries and (a) for the exclusive purpose of (i)

providing benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses

of administering the Plan with (b) the care, skill, prudence, and diligence under the

circumstances then prevailing that a prudent man acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of a like character and with like aims, and (c)

by failing to act in accordance with the documents and instruments governing the Plan. In

addition, as set forth above, Defendants violated their respective fiduciary duties under ERISA to

monitor other fiduciaries of the Plan in the performance of their duties.

        93.     To the extent that any of the Defendants did not directly commit any of the

foregoing breaches of fiduciary duty, at the very minimum, each such Defendant is liable under

29 U.S.C. § 1105(a) because he, she, they, or it was a co-fiduciary and knowingly participated in,

or concealed, a breach by another fiduciary, enabled another fiduciary to commit breaches of

fiduciary duty in the administration of his, her, their, or its specific responsibilities giving rise to

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his, her, their, or its fiduciary status, or knowingly failed to cure a breach of fiduciary duty by

another fiduciary and failed to take reasonable efforts to remedy the breach.

       94.      As a direct result of Defendants’ breaches of duties, the Plan has suffered losses

and damages.

       95.      Pursuant to Sections 409 and 502(a)(2) of ERISA, 29 U.S.C. §§ 1109 and 1132,

Defendants are liable to restore to the Plan the losses that have been suffered as a direct result of

Defendants’ breaches of fiduciary duty and are liable for damages and any other available

equitable or remedial relief, including prospective injunctive and declaratory relief, and

attorneys’ fees, costs, and other recoverable expenses of litigation.

                                         COUNT II
                 (Failure to Monitor Fiduciaries and Co-Fiduciary Breaches)

      96.       Plaintiff incorporates by reference the allegations in the previous paragraphs of

this Complaint as if fully set forth herein.

      97.       Citi is responsible for appointing, overseeing, and removing members of the

Administrative Committee, who, in turn, are responsible for appointing, overseeing, and

removing members of the Committee.

      98.       In light of its appointment and supervisory authority, Citi had a fiduciary

responsibility to monitor the performance of the Committee and its members. In addition, Citi

and the Administrative Committee had a fiduciary responsibility to monitor the performance of

the members of the Committee.

      99.       A monitoring fiduciary must ensure that the monitored fiduciaries are performing

their fiduciary obligations, including those with respect to the investment and holding of Plan

assets, and must take prompt and effective action to protect the Plan and participants when they

are not.

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      100.      To the extent that fiduciary monitoring responsibilities of Citi or the Committee

was delegated, each Defendant’s monitoring duty included an obligation to ensure that any

delegated tasks were being performed prudently and loyally.

      101.      Citi and the Committee breached their fiduciary monitoring duties by, among

other things:

          (a) Failing to monitor and evaluate the performance of their appointees or have a

          system in place for doing so, standing idly by as the Plan suffered enormous losses as

          a result of the appointees’ imprudent actions and omissions with respect to the Plan;

          (b) Failing to monitor their appointees’ fiduciary processes, which would have alerted

          a prudent fiduciary to the breaches of fiduciary duties described herein, in clear

          violation of ERISA; and

          (c) Failing to remove appointees whose performances were inadequate in that they

          continued to maintain imprudent, excessively costly, and poorly performing

          investments within the Plan, all to the detriment of the Plan and its participants’

          retirement savings.

      102.      As a consequence of these breaches of the fiduciary duty to monitor, the Plan

suffered substantial losses. Had Citi and the Committee discharged their fiduciary monitoring

duties prudently as described above, the losses suffered by the Plan would have been minimized

or avoided. Therefore, as a direct result of the breaches of fiduciary duties alleged herein, the

Plan and its participants have lost millions of dollars of retirement savings.

      103.      Citi and the Committee are liable under 29 U.S.C. § 1109(a) to make good to the

Plan any losses to the Plan resulting from the breaches of fiduciary duties alleged in this Count,

to restore to the Plan any profits made through use of Plan assets, and are subject to other



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equitable or remedial relief as appropriate.

         104.   Each of the Defendants also knowingly participated in the breaches of the other

Defendants, knowing that such acts constituted breaches; enabled the other Defendants to

commit breaches by failing to lawfully discharge their own fiduciary duties; and knew of the

breaches by the other Defendants and failed to make any reasonable effort under the

circumstances to remedy the breaches. Defendants, thus, are liable for the losses caused by the

breaches of their co-fiduciaries under 29 U.S.C. § 1105(a).

                                          COUNT III
                  (In the Alternative, Liability for Knowing Breach of Trust)

         105.   Plaintiff incorporates by reference the allegations in the previous paragraphs of

this Complaint as if fully set forth herein.

         106.   In the alternative, to the extent that any of the Defendants are not deemed a

fiduciary or co-fiduciary under ERISA, each such Defendant should be enjoined or otherwise

subject to equitable relief as a non-fiduciary from further participating in a knowing breach of

trust.

         107.   To the extent any of the Defendants are not deemed to be fiduciaries and/or are

not deemed to be acting as fiduciaries for any and all applicable purposes, any such Defendants

are liable for the conduct at issue here, since all Defendants possessed the requisite knowledge

and information to avoid the fiduciary breaches at issue here and knowingly participated in

breaches of fiduciary duty by permitting the Plan to offer a menu of imprudent investment

options, all of which was unjustifiable in light of the size and characteristics of the Plan.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of herself, the Class and the Plan, demands judgment

against Defendant for the following relief:

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       (a)     Declaratory and injunctive relief pursuant to Section 502 of ERISA, 29 U.S.C. §

       1132, as detailed above;

       (b)     Equitable, legal or remedial relief to return all losses to the Plan and/or for

       restitution and/or damages as set forth above, plus all other equitable or remedial relief as

       the Court may deem appropriate pursuant to Sections 409 and 502 of ERISA, 29 U.S.C.

       §§ 1109 and 1132;

       (c)     Pre-judgment and post-judgment interest at the maximum permissible rates,

       whether at law or in equity;

       (d)     Attorneys’ fees, costs and other recoverable expenses of litigation; and

       (e)     Such further and additional relief to which the Plan may be justly entitled and the

       Court deems appropriate and just under all of the circumstances.

                          NOTICE PURSUANT TO ERISA § 502(h)

       To ensure compliance with the requirements of Section 502(h) of ERISA, 29 U.S.C. §

1132(h), the undersigned hereby affirms that, on this date, a true and correct copy of this

Complaint was served upon the Secretary of Labor and the Secretary of the Treasury by certified

mail, return receipt requested.

DATED: January 17, 2024                                Respectfully submitted,

                                                       /s/ Laurie Rubinow
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                                    Attorneys for Plaintiff, the Plan
                                    and the Proposed Class




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